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CHIESA SHAHINIAN & GIANTOMASI PC
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Jeffrey S. Chiesa, Esq.
Counsel for Defendants

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY



ANN LEWANDOWSKI, on her own behalf, on                Civil Action No.: 3:24-cv-671-ZNQ-RLS
behalf of all others similarly situated, and on
behalf of the Johnson & Johnson Group Health
Plan and its component plans,
                                                         DECLARATION OF JEFFREY S.
               Plaintiff,                                   CHIESA IN SUPPORT OF
                                                       DEFENDANTS’ MOTION TO DISMISS
v.                                                    THE FIRST AMENDED CLASS ACTION
                                                                 COMPLAINT
JOHNSON & JOHNSON AND THE
PENSION & BENEFITS COMMITTEE OF
JOHNSON & JOHNSON,

               Defendants.


       JEFFREY S. CHIESA, ESQ., of full age, declares under penalty of perjury, pursuant to 28

U.S.C. §1746, as follows:

       1.      I am an attorney-at-law of the State of New Jersey and a member of the law firm of

Chiesa Shahinian & Giantomasi PC, attorneys for Johnson & Johnson (“J&J”) and the Pension &

Benefits Committee of Johnson & Johnson, (together, “Defendants”) in the above-captioned action.

I am familiar with the facts and information set forth herein.

       2.      I make this Declaration in support of Defendants’ Motion to Dismiss the First

Amended Class Action Complaint.

       3.      Attached hereto, and relied upon in the Brief in Support of Defendants’ Motion to

Dismiss the First Amended Complaint, are true and accurate copies of the following:



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        Exhibit A:     The Johnson & Johnson Group Health Plan (As Amended and Restated

        Effective January 1, 2023);

        Exhibit B:     The 2022 Summary Annual Report for the Johnson & Johnson Group Health

        Plan;

        Exhibit C:     A Summary Plan Description entitled “Prescription Drug Coverage Details

        Supplement” for the Johnson & Johnson Group Health Plan;

        Exhibit D:     The Premier HSA Medical Plan Details Supplement for the Johnson &

        Johnson Group Health Plan;

I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.


                                            CHIESA SHAHINIAN & GIANTOMASI, PC
                                            Counsel for Defendants




                                            By: /s/ Jeffrey S. Chiesa

Dated: June 28, 2024




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                             Exhibit A
        Johnson & Johnson Group Health Plan
  (As Amended and Restated Effective January 1, 2023)
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                 CERTIFICATION OF AMENDMENT AND RESTATEMENT
                                    OF THE
                    JOHNSON & JOHNSON GROUP HEALTH PLAN

 Effective as of January 1, 2023, the attached Johnson & Johnson Group Health Plan is hereby amended
 and restated.


                                                       ON BEHALF OF THE
                                                       PENSION AND BENEFITS COMMITTEE
                                                       OF JOHNSON & JOHNSON


 Date: __________________
          12/29/22                                     ___________________________________
                                                       DOUGLAS GRANT
                                                       Member
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                          THE JOHNSON & JOHNSON

                             GROUP HEALTH PLAN

                (As Amended and Restated Effective January 1, 2023)
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                   THE JOHNSON & JOHNSON GROUP HEALTH PLAN
                    (As Amended and Restated Effective January 1, 2023)


                                      ARTICLE I
                          NAME, PURPOSE, AND EFFECTIVE DATE


 1.01   Name.

 This plan is designated as The Johnson & Johnson Group Health Plan (the “Plan”).

 1.02   Purpose.

 The purpose of this Plan is to provide specified health-care related benefits to certain eligible
 active, former, and retired Employees of Johnson & Johnson and affiliated companies and their
 Dependents.

 1.03   Plan Document.

 The official Plan document shall consist of this document (the “Umbrella Plan Document”) and
 the Component Summary Plan Descriptions (SPDs) and Insurance Contracts, each of which is
 designated on Schedule A hereto and incorporated herein by reference.

 1.04   Effective Date.

 This amendment and restatement of the Plan is effective as of January 1, 2023.




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                                      ARTICLE II
                            DEFINITIONS AND CONSTRUCTION

 2.01   Definitions.

 The words and phrases used in this document and/or a Component SPD shall have the meanings
 set forth below, unless otherwise specifically provided or unless a different meaning is required
 by the context. Any rules set forth in the following definitions shall apply.

        (a)     “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985,
                as in effect and as amended from time to time.

        (b)     “COBRA Beneficiary” means any individual who qualifies under COBRA (or
                state law) for statutory continuation coverage under this Plan solely in accordance
                with the terms set forth in the applicable Component SPD.

        (c)     “Code” means the Internal Revenue Code of 1986, as in effect and as amended
                from time to time.

        (d)     “Company” means the Sponsor and the Participating Affiliates.

        (e)     “Covered Individual” means a Participant or a Participant’s Dependent who is
                covered under the Plan.

        (f)     “Component SPD” means a summary plan description that is designated as such
                on Schedule A hereto. Each Component SPD shall set forth the terms and
                conditions of one of the component plans that comprise the Johnson & Johnson
                Group Health Plan, as described elsewhere in this document. Each Component
                SPD shall specifically define the Eligible Employees to whom that component
                plan applies and the applicable terms of coverage under that component plan.
                Each Component SPD shall be deemed to incorporate any materials specifically
                referenced therein and any applicable Summary of Material Modifications. Each
                of the Component SPDs is incorporated by reference herein and made a part of
                the Plan.

        (g)     “Dependent” means any of the following individuals who meets the definition of
                Dependent as set forth in the applicable Component SPD: (i) the legally married
                spouse of an Eligible Employee, Former Employee, Retiree, or (if the spouse is
                not a COBRA Beneficiary), COBRA Beneficiary; (ii) a child of an Eligible
                Employee, Former Employee, Retiree, (if the child is not a COBRA Beneficiary)
                COBRA Beneficiary or spousal Surviving Beneficiary; or (iii) a child of a
                deceased Employee, Former Employee, or Retiree other than the eldest such
                child. “Dependent” shall also include a “partner” of an Eligible Employee or a
                child of such partner as set forth in the applicable Component SPD. Partners of
                Retirees and Former Employees shall not be eligible to participate in the Plan
                except as specified in the applicable Component SPD.




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       (h)   “Eligible Employee” means any Employee who is eligible to participate in the
             Plan in accordance with the rules set forth in the applicable Component SPD.
             Except as expressly provided in a Component SPD, no "leased employee," as
             defined in section 414(n) of the Code, or other individual engaged by the
             Company through a staffing firm or similar entity shall be an Eligible Employee.

       (i)   “Eligible Participant” means an Eligible Employee, Former Employee, Retiree,
             COBRA Beneficiary, or Surviving Beneficiary.

       (j)   “Employee” means an individual who is employed by the Company.

       (k)   “Former Employee” means an individual who has terminated from employment
             with the Company and who is eligible to participate in the Plan in accordance
             with the rules set forth in the applicable Component SPD. Except as expressly
             provided in a Component SPD, no "leased employee," as defined in section
             414(n) of the Code, or other individual engaged by the Company through a
             staffing firm or similar entity shall be a Former Employee.

       (l)   “HIPAA” means the Health Insurance Portability and Accountability Act of
             1996, as amended, and the regulations thereunder.

       (m)   “Insurance Contract” means a contract with one or more of the Insurers which
             contract may be (i) an insured HMO contract, or other group health insurance or
             group health coverage contract designated on Schedule A, or (ii) an agreement
             with respect to one or more Johnson & Johnson Policies and Procedures
             documents (with Comparison Charts) on Schedule A, between the Sponsor and
             the Insurer, as amended from time to time, or any successor thereto. The
             Insurance Contracts are hereby incorporated by reference into, and made a part of,
             the Plan.

       (n)   “Insurer” means any insurance company that provides group insurance coverage,
             including a risk-assuming HMO that is identified under “Insurance Contracts” in
             Schedule A hereto.

       (o)   “Participant” means any individual who is an Eligible Employee, Former
             Employee, Retiree, COBRA Beneficiary, or Surviving Beneficiary who is
             participating in the Plan in accordance with Article III hereof.

       (p)   “Participating Affiliate” means an Affiliate whose employees have been
             approved for integration into the Plan by the Sponsor. Such entity shall become a
             Participating Affiliate as of the date its participation in the Plan begins and shall
             cease to be a Participating Affiliate on the date as of which it or the Sponsor
             determines its participation shall terminate. For purposes of clarity and without
             limitation, any Affiliate identified in Schedule B shall not be a Participating
             Affiliate. “Affiliate” means any entity that, together with the Sponsor, constitutes
             a group of trades or businesses under common control, a controlled group of
             corporations, or an affiliated service group as defined in Sections 414(b), (c), and
             (m) of the Code, respectively, or that must otherwise be aggregated with the



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             Sponsor under Section 414(o) of the Code. “Controlled Group” means the
             Sponsor and all of its Affiliates.

       (q)   “Pension and Benefits Committee” means the Pension and Benefits Committee
             of Johnson & Johnson.

       (r)   “Plan” means The Johnson & Johnson Group Health Plan, as herein set forth, and
             as amended from time to time, together with the attachments hereto and materials
             incorporated by reference herein and/or, as applicable in context, the relevant
             component plan, as described in Section 8.13.

       (s)   “Plan Administrator” means the administrator of the Plan, for purposes of the
             Employee Retirement Income Security Act of 1974, as amended, and the
             purposes set forth herein, as designated in Section 7.01.

       (t)   “Retiree” means an individual who is retired from employment with the
             Company and who is eligible to participate in the Plan in accordance with the
             rules set forth in the applicable Component SPD.

       (u)   “Service Administrator” means an organization designated by or contracting
             with the Sponsor for purposes of providing administrative services under the Plan,
             as described in Section 7.03.

       (v)   “Sponsor” means Johnson & Johnson, a corporation organized under the laws of
             the State of New Jersey, which is the sponsor of the Johnson & Johnson Group
             Health Plan and the component plans that comprise the Johnson & Johnson Group
             Health Plan for purposes of the Employee Retirement Income Security Act of
             1974, as amended, and the purposes set forth in this Plan.

       (w)   “Surviving Beneficiary” means a surviving spouse or, where there is no
             surviving spouse, the eldest surviving child of a deceased Employee, Former
             Employee, or Retiree, which spouse or child remains eligible to enroll for
             coverage in accordance with the terms of the applicable Component SPD.
             "Surviving Beneficiary” also shall include a surviving partner of a deceased
             Employee, Former Employee or Retiree, or the eldest surviving child of such
             partner, as set forth in the applicable Component SPD. To be regarded as a
             Surviving Beneficiary, a surviving spouse, partner, child or partner’s child must
             actually have the right to make an enrollment election under the Plan and not
             merely be eligible to be enrolled by another survivor of the deceased Employee,
             Former Employee, or Retiree.

       (x)   “Trust” means the trust fund or funds established by the Sponsor for purposes of
             providing the benefits payable under the Plan and any other employee welfare
             benefit plan that the Sponsor may maintain.

       (y)   “Trustee” means the bank or trust company approved by the Sponsor to be the
             administrator of the Trust.




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         (z)    “Trust Fund” means a fund within the Trust established by the Sponsor for
                purposes of providing benefits and defraying administrative expenses under the
                Plan.

         (aa)   “Workforce” means workforce within the meaning of the administrative
                simplification provisions of the HIPAA, including employees, volunteers, and
                trainees of the Company; other persons whose conduct, in the performance of
                work for the Company, is within the direct control of the Company, whether or
                not they are paid by the Company; and persons who are assigned under a contract
                to perform a substantial proportion of their activities for the Company at work
                stations on the Company’s premises.

  2.02   Gender and Number.

  Masculine pronouns shall refer to both males and females. Singular or plural words shall be
  construed to refer to the plural or singular, respectively, when appropriate.




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                                        ARTICLE III
                                ELIGIBILITY AND COVERAGE

  3.01   Eligibility for Participation.

  An individual who is an Eligible Participant shall be eligible to become a Participant in the Plan
  as of the first day on which the individual satisfies the eligibility requirements specified in the
  applicable Component SPD and, where insured, Insurance Contract. Dependents of an Eligible
  Participant shall be eligible to participate in accordance with the provisions of the applicable
  Component SPD. The Component SPDs shall identify the Employees, Former Employees,
  Retirees, COBRA Beneficiaries and Surviving Beneficiaries who are eligible to participate in the
  Plan. For purposes of determining the eligibility of any individual for coverage under the Plan,
  the individual’s status as an Employee, Former Employee, Retiree, COBRA Beneficiary, or
  Surviving Beneficiary, leased employee, or any other classification of individuals shall be
  determined by the Company in accordance with the terms of the applicable Component SPD and
  the Company’s own policies, practices and classifications, regardless of the treatment of the
  individual for any purpose under the Code, the common law, or any other source of legal
  authority and regardless of any determination of such status, whether prospective or retroactive,
  as to the individual's status by any governmental agency or other governmental entity.

  The Company may identify additional groups of employees or former employees on a periodic
  basis that may be added to or deleted from coverage under the Plan. In such event, the Company
  shall so notify the applicable Service Administrator and shall identify the affected individuals in
  the applicable Component SPD.

  3.02   Benefit Options and Levels of Coverage.

  The benefit options and levels of coverage available to Participants under the Plan shall be as set
  forth in the Component SPDs and, as applicable, Insurance Contracts. The terms and conditions
  governing each benefit option and level of coverage, including, but not limited to, the form,
  amount, and duration of benefits, the availability of coverage for Dependents, the coordination of
  benefits with other group medical plans, the right to pursue inappropriate or excess payments and
  to pursue fraud, the treatment of qualified medical child support orders, and the amount and
  payment of any contributions or premiums shall be as set forth in the applicable Component
  SPD, the materials referenced therein, and, if applicable, the relevant Insurance Contract.

  3.03   Procedure for and Effect of Enrolling in the Plan.

  An Eligible Participant may enroll in the Plan and become a Participant at the times and in
  accordance with the procedures established from time to time by the Plan Administrator. Each
  applicable Component SPD and, as applicable, Insurance Contract shall set forth the procedures
  for initial enrollment, annual enrollment, and any permitted changes or modifications to coverage
  for all Eligible Participants and their Dependents, as well as the provision for Dependent
  eligibility verification. Except as set forth in the applicable Component SPD, a Participant’s
  Dependents may be enrolled only for the same coverage that applies to the Participant. By
  enrolling in and becoming a Participant in the Plan, each Eligible Participant and his Dependents




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  shall, for all purposes, be deemed to have assented to the provisions of the Plan and all
  amendments thereto.

  3.04   Termination of Coverage.

  A Participant’s coverage, including coverage, if any, for Dependents, shall terminate in
  accordance with the terms of the applicable Component SPD, and, if applicable, with respect to
  the coverage offered by an Insurer, the relevant Insurance Contract.

  3.05   Waiver and Default.

  An Eligible Participant may waive coverage under the Plan for himself and/or his Dependents, if
  any, to the extent permitted by, and in accordance with, the procedures specified in the
  applicable Component SPD. An Eligible Participant who fails to elect or waive coverage under
  the Plan for himself and/or his Dependents shall be provided with the default coverage, if any,
  specified in the applicable Component SPD.

  3.06   Limitations.

  Notwithstanding any other provision of the Plan, if the Plan Administrator determines at any
  time that the Plan may fail any nondiscrimination requirement imposed on the Plan by the Code,
  or any other provisions of applicable law, the Plan Administrator may take such action as is
  necessary or appropriate, in the judgment of the Plan Administrator, to assure compliance with
  the applicable requirement. To the extent that coverage is provided under an insured HMO or
  other insured option, no benefits shall be paid unless they are provided under the applicable
  Insurance Contract.




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                                 ARTICLE IV
               CONTRIBUTIONS, FUNDING, AND PAYMENT OF BENEFITS

  4.01   Participant Contributions.

  The Sponsor shall establish each year the amount of Participant contributions that may be
  required under the Plan for each benefit option and level of coverage, as well as any other cost-
  sharing measures that apply, including, but not limited to, deductibles, copayments, coinsurance
  percentages, out-of-pocket maximums, and lifetime maximums. The amount of any Participant
  contributions and cost sharing shall be set forth in each applicable Component SPD and/or
  annual enrollment materials.

  Participants may make contributions to such benefits by salary reduction elections under the
  Sponsor’s flexible benefits plan, or by any other method set forth in the applicable Component
  SPD or prescribed by the Plan Administrator.

  4.02   Funding and Establishment of Trust.

  Benefits under this Plan shall be funded through contributions made by the Company and by
  enrolled Participants. All contributions to the Plan by the Company and Participants shall be
  transferred to one or more Trust Funds that shall be established by the Sponsor or, as the Plan
  Administrator determines, in its discretion, paid directly as premiums to an Insurer. The Sponsor
  shall establish one or more Trust Funds with one or more banks or trust companies. The Sponsor
  shall appoint one or more Trustees with respect to each Trust Fund and may, at its discretion,
  remove any Trustee appointed by it and appoint as successor any other individual bank or trust
  company that it determines to have appropriate qualifications.

  4.03   Payment of Benefits and Expenses.

  a.     Insured Benefits. With respect to any benefits that are provided through an Insurance
         Contract, the Company shall provide for such benefits through the payment of premiums
         from the Trust Funds (or at the Plan Administrator’s discretion from funds not placed in
         the Trust) to the applicable Insurer, and neither the Company nor the Trust shall have any
         other liability with respect to such benefits.

  b.     Self-Insured Benefits. Some or all of the benefits under the Plan may be provided by the
         Company on a self-insured basis. All self-insured benefits shall be paid by the Company
         from the Trust Funds in accordance with the terms of the applicable Component SPD.

  c.     Expenses of the Plan. As directed by the Plan Administrator, the Trustee shall also pay
         out of the Trust Funds assets expenses of administration of the Plan including fees and
         expenses of the Service Administrators and expenses of other parties of interest
         reasonably chargeable to the Plan to the extent permitted by the law. The Plan
         Administrator may alternatively pay such expenses out of the general assets of the
         Sponsor

  d.     Limitation of Benefits. Benefits under the Plan shall be paid to the extent assets are
         available in the Trust Funds or, as applicable, provided by an Insurer under an Insurance



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         Contract. The Employer shall not be obligated to pay benefits under the Plan in excess of
         the amounts available under the Trust Funds or, as applicable, provided through an
         Insurance Contract.

  e.     Trust Funds. All contributions to the Trust for the Plan shall be placed in one or more
         Trust Funds. The Trust Funds shall be maintained and used solely for the payment of
         benefits and administrative expenses under the Plan. To the extent that the Trust includes
         funds for the payment of benefits and administrative expenses under other welfare benefit
         plans, such amounts shall be placed and held in separate funds and shall not be used for
         purposes of the Plan. Amounts in the Trust Funds shall, at all times, be accounted for
         separately from any other funds held in the Trust.

  4.04   Payment to Participant or Health Care Provider.

  Except as otherwise provided in Section 4.05 and 8.12, benefit payments under this Plan shall be
  made to the Covered Individual or to a health care provider in accordance with the terms of the
  applicable Component SPD and, as applicable, Insurance Contract.

  4.05   Incompetence.

  If the Plan Administrator determines that a Covered Individual is not competent, benefit
  payments may be made to the court-appointed legal guardian of the Covered Individual, to an
  individual who has become the legal guardian of the Covered Individual by operation of state
  law, or to another individual whom the Plan Administrator determines to be entitled to receive
  such payments on behalf of the Covered Individual. Such payments shall, to the extent thereof,
  discharge all liability of the Company.

  4.06   No Duplicate Payments/Recovery of Excess Payments.

  If a payment of benefits under the Plan is made to a third party whom the Plan Administrator has
  determined to be entitled to receive such payment on behalf of a Covered Individual, the Plan
  shall be relieved, to the fullest extent permitted by law, of any obligation to make a duplicate
  payment to or on behalf of such Covered Individual. If a payment of benefits under the Plan is
  made to a Covered Individual, the Plan shall be relieved, to the fullest extent permitted by law, of
  any obligation to make a duplicate payment on behalf of that Covered Individual to a third party.
  It is a Covered Individual’s responsibility to pay providers for service and supplies that the
  Covered Individual receives. If any benefit payment is made erroneously, in duplication, or in
  excess of the amount appropriately payable under a Component SPD or Insurance Contract, the
  Covered Individual, or the Participant or third party recipient of payment with respect to such
  Covered Individual shall be responsible for repaying such amount in such manner as the Plan
  Administrator prescribes.




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                                    ARTICLE V
                         STATUTORY CONTINUATION COVERAGE

  5.01   Statutory Continuation Coverage.

  Covered Individuals shall be eligible for statutory continuation coverage under the Plan (if at all)
  solely in accordance with the terms set forth in the applicable Component SPD. With respect to
  insured coverage only, a Covered Individual’s right, if any, to convert to individual coverage
  shall be determined by the terms of the applicable Insurance Contract. No conversion rights are
  available under the Plan with respect to any self-insured coverage.




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                                        ARTICLE VI
                                    CLAIMS AND APPEALS

  6.01   Procedures for Claims and Appeals.

  To be entitled to payment of any benefits under the Plan, a Covered Individual must submit all
  claims for benefits under the Plan and all appeals of claims that have been denied to the
  appropriate Service Administrator in accordance with the procedures established by the Sponsor
  and set forth in the applicable Component SPD or Insurance Contract.

  6.02   Limitations on Legal Action.

  A Covered Individual must pursue all claim and appeal rights available under the Plan (other
  than any voluntary appeals) before seeking any other legal recourse. Any legal action under the
  Plan with respect to a denied claim must be initiated within one year of the date that the final
  appeal is denied or, if shorter, within the applicable statute of limitations.




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                                          ARTICLE VII
                                        ADMINISTRATION

  7.01   Plan Administrator.

  The Pension and Benefits Committee shall administer the Plan and shall be the named fiduciary
  and Plan Administrator. The Plan Administrator may delegate any of its or other’s fiduciary or
  administrative responsibilities (other than the responsibility of Trustee) to other fiduciaries and
  administrators. The Plan Administrator may allocate any such fiduciary responsibility, which
  shall be exercisable severally and not jointly with each named fiduciary’s responsibilities being
  limited to the specific area of responsibility set forth below, or as the Plan Administrator may
  further allocate and may (i) designate persons or entities other than named fiduciaries to carry
  out fiduciary and administrative responsibilities (other than Trustee’s responsibilities) under the
  Plan; (ii) employ or contract with one or more persons or entities to render advice and counsel
  with respect to any responsibility under the Plan; and (iii) engage an independent public
  accountant on behalf of the Participants to conduct an annual examination of the books and
  records of the Company in respect of the Plan and on the basis of such examination make such
  report as the fiduciaries severally request. When acting on the Plan or Plan Administrator’s
  behalf, the Sponsor may also delegate and allocate the Plan Administrator’s responsibilities with
  the same effect as the Plan Administrator’s delegation and allocation of such responsibilities.
  Any person or group of persons (except Trustees) may serve in more than one fiduciary capacity
  or administrative capacity with respect to the Plan. To the extent permitted by the Plan
  Administrator, any fiduciary under the Plan, other than the Plan Administrator, may delegate and
  allocate its responsibility.

  Any action by the Plan Administrator assigning any of the Plan Administrator’s responsibilities
  to persons who are all members of the Pension and Benefits Committee or the Company’s
  Workforce shall not constitute an allocation of the Plan Administrator’s responsibility but rather
  shall be treated as the manner in which the Plan Administrator has determined to discharge its
  responsibilities with respect to the Plan.

  To the extent that any of the Plan Administrator’s responsibilities have been delegated, to a
  Service Administrator under Section 7.03 or otherwise, references in the Plan to “Plan
  Administrator” shall be deemed to refer to the designee who has been delegated such
  responsibilities.

  7.02   Trustee.

  The Trustee shall have the authority under the Plan (i) to receive contributions, (ii) hold, manage,
  invest, and reinvest Plan funds, to the extent responsibility is not retained by the Plan or assigned
  to an investment manager (which powers may be so retained or assigned notwithstanding
  anything in Section 7.01), and (iii) upon appropriate direction pay out funds for claims and
  expenses.

  7.03   Service Administrator.

  The Sponsor, acting on its own behalf and/or on behalf of the Plan and Plan Administrator, may
  designate or contract with one or more Service Administrators for the performance of



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  administrative responsibilities with respect to the Plan, including, without limitation, claims
  processing and benefit payment, medical (including mental health/substance abuse) case
  management, disease management, network management, utilization management, utilization
  review, precertification, and other administrative services for the Plan. A Service Administrator
  may have responsibility for only components of the above services.

  7.04   Discretionary Authority.

  In carrying out their respective responsibilities under the Plan, the Plan Administrator, any
  Service Administrator and other Plan fiduciaries shall have discretionary authority to (i)
  interpret the terms of the Plan, including the power to remedy possible ambiguities,
  inconsistencies, or omissions; (ii) determine eligibility for benefits pursuant to the terms of the
  Plan, as well as the benefits to be provided, including the amount of such benefits; (iii) make
  any factual determinations; (iv) adopt rules for the administration of the Plan; and (v) take any
  other actions necessary or appropriate for the effective administration of the Plan. Any
  interpretation or determination made pursuant to such discretionary authority shall be conclusive
  and be given full force and effect, subject to any right to appeal the interpretation or
  determination as set forth in the applicable Component SPD or Insurance Contract. No
  determination of the Plan Administrator, any Service Administrator or other Plan fiduciary in
  one case shall create a bias or retroactive adjustment in any other case.

  7.05   Records of Administration.

  Records of administration of the Plan shall be kept, and Participants may ordinarily examine
  records pertaining directly to them. Records shall be made available in all circumstances
  required by applicable law, but may be withheld when prepared in anticipation of litigation and
  in other circumstances as permitted by applicable law.

  7.06   Limitation of Liability.

  Neither the Plan Administrator nor the Company or any member of its Workforce shall be liable
  for any loss due to its (or his or her) error or omission in administration of the Plan unless the
  loss is due to the failure of the Plan Administrator, the Company, or such member of the
  Workforce to exercise the care, skill, prudence, and diligence under the circumstances then
  prevailing that a prudent person acting in a like capacity and familiar with such matters would
  use in the conduct of an enterprise of a like character and with like aims.

  7.07   Indemnification.

  The Company shall indemnify each officer, director, employee or other member of the
  Workforce of the Company for all expenses (other than amounts paid in settlement to which the
  Company does not consent) reasonably incurred by him in connection with any action to which
  he may be party by reason of his performance of administrative functions and duties under the
  Plan, except in reaction to matters as to which he shall be adjudged in such action to be
  personally guilty of willful misconduct in the performance of his duties. The foregoing rights to
  indemnification shall be in addition to such other rights as the individual may enjoy as a matter
  of law or by reason of insurance coverage of any kind. Rights granted hereunder shall be in
  addition to and not in lieu of any rights to indemnification to which the individual may be
  entitled pursuant to the Sponsor’s by-laws.




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                                        ARTICLE VIII
                                     GENERAL PROVISIONS

  8.01   Amendment and Termination.

  The Sponsor reserves the right to amend, modify, revoke, or terminate the Plan, in whole or in
  part, at any time with respect to any individual or group covered by the Plan, including without
  limitation any current or future retirees. Any such amendment, modification, revocation, or
  termination of the Plan shall be made by or pursuant to a written resolution adopted by the
  Pension and Benefits Committee or by such other means as the Pension and Benefits Committee
  deems appropriate.

  The provisions of the Plan shall be interpreted to comply with applicable requirements of law
  and, in the event of any change in law, shall be deemed amended to the extent necessary to
  comply with such change, pending any actual amendment of the Plan for compliance.

  In the event the Plan is terminated or changed to exclude a specific group of Eligible Participants
  and/or their Dependents, the Plan shall pay any claims incurred by a Covered Individual in the
  affected group before the date of such termination or exclusion to the extent that the Plan
  provides and to the extent that assets held by the Trust Funds are available (or an applicable
  Insurance Contract remains in effect). Covered Individuals affected by the termination or
  exclusion must submit any claims within a reasonable amount of time as determined by the
  Service Administrator, which shall, in no event be later than the last day for submitting such
  claims, as specified in the applicable Component SPD or Insurance Contract. The Plan shall not
  pay any claims incurred on or after the date of Plan termination or exclusion.

  8.02   Effect of Plan on Employment.

  The Plan shall not be deemed to constitute a contract of employment between the Company and
  any Participant or to be a consideration or an inducement for the employment of any Participant
  or Employee. Nothing contained in this Plan shall be deemed to give any Participant or
  Employee the right to be retained in the service of the Company or to interfere with the right of
  the Company to discharge any Participant or Employee at any time regardless of the effect that
  such discharge may have upon him as a Participant in this Plan.

  8.03   Provision of Information.

  A Covered Individual may be required to submit proof of other coverage, information pertaining
  to an individual’s status as a Dependent, documentation relating to a claim for benefits, and other
  information necessary for the proper administration of the Plan as the Plan Administrator may
  require and direct.

  8.04   Protected Health Information.

  The Plan shall be subject to the applicable requirements relating to the use and disclosure of
  “protected health information” imposed by HIPAA and to the rules for certain uses and
  disclosures of protected health information, all as set forth in the HIPAA Appendix to the Plan,
  which is incorporated herein by reference.



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  8.05   Applicable Law.

  The Plan shall be governed and administered in accordance with the Employee Retirement
  Income Security Act of 1974, as amended (“ERISA”), and other federal laws and, to the extent
  not preempted thereby, in accordance with the laws of the State of New Jersey.

  To the extent that some benefits under the Plan are provided by an Insurer under an Insurance
  Contract, the Insurance Contract shall be governed by and administered under ERISA and any
  other applicable federal laws, and, to the extent not preempted thereby, under such state law as is
  applicable to the Insurance Contract.

  Although coverage and benefits under the Plan are, in most circumstances, intended to be
  excluded from income for federal income tax purposes, there is no commitment or guarantee that
  any exclusion for any tax or withholding requirement will apply. By enrolling in the Plan, a
  Participant agrees to be liable for any tax that may be unpaid with respect to coverage or benefits
  hereunder and any interest or penalties that may be assessed in connection with the tax.

  8.06   Responsibilities of Covered Individuals.

  Each Covered Individual shall be responsible for providing the Company or such other entity as
  the Sponsor may identify with his current address. Any notices required or permitted to be given
  to a Covered Individual shall be deemed given if sent to the address most recently provided by
  the Covered Individual and mailed by first class United States mail or by such electronic delivery
  as may be permitted by applicable law.

  8.07   Lost Distributees.

  Any benefit payable hereunder shall be deemed forfeited if the Plan is unable to locate the
  Participant to whom payment is due, provided, however, that such benefit shall be reinstated if a
  claim is made by the Participant for the forfeited benefit within the time period set forth in the
  applicable Component SPD.

  8.08   Severability.

  If any provision of this Plan shall be held invalid or unenforceable, such invalidity or
  unenforceability shall not affect any other provision, and this Plan shall be construed and
  enforced as if such provision had not been included.

  8.09   Scope of Plan.

  The Plan provides solely for the payment of certain health care benefit expenses. All decisions
  regarding care shall be made by the Covered Individual in consultation with his health care
  provider.

  8.10   Heirs and Assigns.

  This Plan shall be binding upon the heirs, executors, administrators, successors, and assigns of
  all parties, including each Participant and covered Dependent.



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  8.11   Adopted Children.

  Notwithstanding any other provision in the Plan to the contrary, in determining whether any
  child is a Dependent, a child adopted by an Eligible Participant or placed with an Eligible
  Participant for adoption shall be treated as a Dependent of such Eligible Participant to the same
  extent as would a child who is a natural child of such Eligible Participant (without regard to
  whether the adoption has become final).

  8.12   Coordination With State Plans.

  The provisions of this Section 8.12 shall apply, notwithstanding any other provision of the Plan
  to the contrary. The term “State Plan”, appearing below, shall mean a plan of any State for
  medical assistance approved under title XIX of the Social Security Act. The term “State”, as
  used in this Section 8.12, shall have the meaning assigned to such term under section 3(10) of
  ERISA.

  a.     Certain Assignments of Rights. The payment of any benefit with respect to a Participant
         or Dependent under the Plan shall be made in accordance with the terms of any
         assignment of the rights to such benefit made by, or on behalf of, such Participant or
         Dependent as required by a State Plan pursuant to section 1912(a)(1)(A) of the Social
         Security Act (as in effect on the date of the enactment of the Omnibus Budget
         Reconciliation Act of 1993).

  b.     Enrollment and Provision of Benefits Without Regard to Medicaid Eligibility. In
         enrolling an individual as a Participant or Dependent under the Plan, or in determining
         whether a benefit payment is to be made, or in making a benefit payment to an individual
         who is a Participant or Dependent, the fact that such individual is eligible for, or is
         provided, medical assistance under a State Plan shall not be taken into account.

  c.     Acquisition by States of Rights of Third Parties. To the extent that any payment for
         medical assistance has been made under a State Plan, in any case in which the Plan has a
         legal liability to make a benefit payment for items or services constituting medical
         assistance, the Plan shall make such benefit payment in accordance with the law of any
         State which provides that the State has acquired the rights of a Participant to such benefit
         payment for such items or services.

  8.13   Component Plans.

  This Umbrella Plan Document sets forth terms that apply to various different benefit
  arrangements described by each of the Component SPDs and Insurance Contracts. The Plan
  shall be a single plan under this Umbrella Plan Document, for governmental reporting purposes,
  as applicable to the benefits hereunder, and for other purposes provided that each of the benefits
  described by a Component SPD shall be administered separately and shall be regarded as a
  separate plan for purposes of COBRA, certain nondiscrimination testing, the application of
  exceptions, and certain other purposes under federal law. In that regard, references to the "Plan"
  throughout this Umbrella Plan Document may refer to the benefits described in a Component
  SPD instead of or in addition to all of the benefits described in this Johnson & Johnson Group
  Health Plan.



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  8.14   No Assignment.

  No benefits under the Plan shall be subject in any manner to anticipation, alienation, sale,
  transfer, assignment, pledge, encumbrance, or charge (collectively, “Assignment”) by any
  person, and any attempt to effect such an Assignment by a Covered Individual or any other
  person shall be void. The Plan has no obligation to accept any direction from a Covered
  Individual to make payment to any person, and any payment of benefits under the Plan that is
  made directly to a health care provider or its agent or representative will be made as a
  convenience to the Covered Individual and not pursuant to or as constituting an Assignment. All
  benefits under the Plan shall, to the extent permitted by law, be exempt from the claims of
  creditors and from all orders, garnishments, executions, and other legal process or proceedings.

  8.15   Headings and Captions.

  The headings and captions set forth in the Plan are provided for convenience only and shall not
  limit or extend the meanings of any of the Plan’s provisions.




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                                           SCHEDULE A

                                         Johnson & Johnson

                 2023 COMPONENT SPDs AND INSURANCE CONTRACTS

  The following is a list of Component SPDs and Insurance Contracts as of January 1, 2023. To
  the extent that the Sponsor adds any Component SPD or enters into an Insurance Contract under
  the Plan after that date, it will be deemed incorporated into this Schedule A. To the extent that a
  Component SPD or an Insurance Contract listed or deemed to be listed below is terminated, it
  shall be deemed deleted from this Schedule A.

  COMPONENT SPDs:

  1. General/Administrative Information Plan Details
  2. Medical Plan Details
  3. Premier HSA Plan Details Supplement
  4. HRA Plan Details Supplement
  5. Dental Plan Details
  6. Vision Care Plan Details
  7. Salaried Retiree Vision Plan Details
  8. Aetna HMO Plan Details Supplement
  9. Harvard-Pilgrim Health Plan HMO Plan Details Supplement
  10. Separation Medical Plan Summary Plan Description
  11. Salaried Retiree Medical Plan Summary Plan Description Pre-April 1, 1985 Retirees
  12. Salaried Retiree Medical Plan Summary Plan Description Post-85
  13. Salaried Retiree Dental Program SPD
  14. Tobacco Cessation Program Plan Details
  15. Prescription Drug Coverage Plan Details Supplement
  16. Group PPO Plan Details Supplement

  INSURANCE CONTRACTS:

  1.   Cigna Global (including Dental)
  2.   HMSA PPO
  3.   Kaiser of California HMO
  4.   UnitedHealthcare Insurance Company (Medicare Advantage)
  5.   Aetna DMO
  6.   Aetna Retiree Dental




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                                           SCHEDULE B

                    AFFILIATES OF SPONSOR DECLINING COVERAGE

  Each Affiliate that is part of the Controlled Group’s consumer health care business (i.e., Kenvue
  Inc. and its affiliates that are part of the consumer health care business, collectively, “Kenvue”)
  shall no longer be a Participating Affiliate as of January 1, 2023, and no employee of Kenvue
  shall be an Eligible Employee as of such date or, if later, as of such date on which the individual
  becomes an employee of Kenvue. Except as provided in this Appendix*, no Affiliate that is a
  “participating affiliate” under the Kenvue Inc. Group Health Plan shall be a Participating
  Affiliate under this Plan, and no individual who is eligible to participate in the Kenvue Inc.
  Group Health Plan as an employee of Kenvue shall be an Eligible Employee under this Plan.

  No employee whose employment is based on employment with an Affiliate in Puerto Rico shall
  be an Eligible Employee under this Plan.

  *During 2023: (i) employees of Affiliates that are part of Kenvue who enrolled for health
  benefits as of January 1, 2023 in the Harvard Pilgrim Health Plan (“HPHP Option”) shall be
  covered under the HPHP Option under and in accordance with the terms of this Plan. For
  purposes of clarity, if and when their employer ceases to be an Affiliate, the coverage provided
  to such individuals under the HPHP Option will be on account of their status as former
  employees.




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                              Exhibit B
                  2022 Summary Annual Report
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  Summary Annual
  Report of Your Benefit
  Plans
  This is a summary of the detailed annual financial report for salaried, certain non-union
  and union hourly benefit plan participants of Johnson & Johnson that the Company,
  as administrator of your benefit plans, files with the federal government. This information is
  for the period January 1, 2022 through December 31, 2022. The Johnson & Johnson
  Employer Identification Number (EIN) is XX-XXXXXXX.

  This annual report has been filed with the Employee Benefit Security Administration as
  required under the Employee Retirement Income Security Act of 1974 (ERISA).

  All Plan participants receive this summary annually. We recommend that you read it and file
  it with your other benefit plan materials.


  Group Health Plan
    - Plan No. 501 (the “Plan”)
  Basic Financial Statement
  Benefits under the Plan are provided by the Company through a Trust Fund, contracts with
  Health Maintenance Organizations, and a vision and dental vendor, and Administrative
  Services Agreements with several health care service providers to pay certain health and
  dental claims incurred under the terms of the Plan.

  Plan expenses were $962,050,340. These expenses included $20,353,794 in administrative
  expenses and $941,696,546 in payments to participants, beneficiaries, and Health
  Maintenance Organizations.

  There were a total of 54,921 participants in or beneficiaries of the Plan at the end of the
  Plan Year.

  The value of Plan assets, after subtracting liabilities of the Plan, was $70,231,757 as of
  December 31, 2022 compared to $63,595,595 as of January 1, 2022. During the Plan Year,
  the Plan experienced an increase in its assets of $6,636,162. The financial statements of
  the Plan are presented on an accrual basis.

  The Plan had total income of $968,686,502 including employer contributions of
  $819,989,553, participant contributions of $148,284,313 and earnings from the Trust of
  $412,636.


  Long-term Disability Income Plan
    - Plan No. 504 (the “Plan”)
  Basic Financial Statement
  Benefits under the Plan are provided through a Trust Fund and Administrative Services
  Agreements and contracts with service providers to pay Long Term Disability claims
  incurred under the terms of the Plan.

  Plan expenses were $24,787,206. These expenses included $680,539 in administrative
  expenses, $20,082,619 in premiums for fully-insured benefits, and $4,024,048 in benefit
  payments to participants.

  The value of Plan assets, after subtracting liabilities of the Plan, was $40,001,217 as of
  December 31, 2022 compared to $54,814,844 as of January 1, 2022. During the Plan Year,
  the Plan experienced a decrease in its net assets of $14,813,627.

  During the Plan Year, the Plan had additions of $9,973,579 including participant
  contributions of $15,351,106 and a loss from investments of $5,377,527.


  Johnson & Johnson Savings Plan
    - Plan No. 100 (the “Plan”)
  Basic Financial Statement
  Benefits under the Plan are provided through a Trust.

  Plan expenses were $1,525,547,512. These expenses included $1,480,638,617 in benefits
  paid or payable to participants and beneficiaries, and $44,908,895 in administrative
  expenses.

  There were a total of 75,241 participants in or beneficiaries of the Plan at the end of the
  Plan Year.

  The value of Plan assets, after subtracting liabilities of the Plan, was $21,190,584,013 as of
  December 31, 2022 compared to $24,697,532,187 as of January 1, 2022. During the Plan
  Year, the Plan experienced a decrease in its net assets of $3,506,948,174. This decrease
  includes depreciation in the value of the Plan assets, that is, the difference between the
  value of the Plan’s assets at the end of the year and the value of the assets at the beginning
  of the year, or the cost of assets acquired during the year.

  The Plan had total income of ($1,981,400,662) including employer contributions of
  $268,184,717, participant contributions of $759,594,527, and a net depreciation of assets in
  the amount of ($3,009,179,906).


  Group Accident Insurance Plan
    - Plan No. 503 (the “Plan”)
  Basic Financial Statement
  Benefits under the Plan are provided through a Trust Fund and an insurance contract with
  The Hartford.

  Plan expenses were $1,461,158. These expenses included $1,461,158 in insurance
  premiums paid.
  There were a total of 44,757 participants in or beneficiaries of the Plan at the end of the
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  The value of Plan assets, after subtracting liabilities of the Plan, was $2,490,673 as of
  December 31, 2022, compared to $2,467,501 as of January 1, 2022. During the Plan Year,
  the Plan experienced a increase in its assets of $23,172.

  The Plan had total income of $1,484,330 including participant contributions of $1,436,242,
  employer contributions of $24,916 and gain from investments of $23,172.

  Insurance Information
  The Plan has a contract with The Hartford to pay all Accidental Death and Dismemberment
  and Permanent Total Disability claims incurred under the terms of the Plan.

  The total insurance premiums paid for the Plan Year ending December 31, 2022 under
  “non-experience-rated” contracts were $1,525,487.


  Group Term Life Insurance Plan
    - Plan No. 502 (the “Plan”)
  Basic Financial Statement
  Benefits under the Plan are provided through a Trust Fund and insurance contracts with
  Metropolitan Life Insurance Company.

  Plan expenses were $19,981,740. These expenses included $19,981,740 in insurance
  premiums paid.

  There were a total of 59,970 participants in or beneficiaries of the Plan at the end of the
  Plan Year.

  The value of Plan assets, after subtracting liabilities of the Plan, was $496,603 as of
  December 31, 2022 compared to $491,983 as of January 1, 2022. During the Plan Year,
  the Plan experienced an increase in its assets of $4,620.

  The Plan had total income of $19,986,360 including participant contributions of
  $19,775,789, employer contributions of $205,951 and gain from investments of $4,620.

  Insurance Information
  The Plan has contracts with Metropolitan Life Insurance Company to pay all life insurance
  claims incurred under the terms of the Plan. For the portion of “experience-rated” contracts,
  the premium costs are affected by, among other things, the number and size of claims. The
  total insurance premiums paid by both employer and participants for the Plan Year ending
  December 31, 2022 under these contracts were $7,162,174 and the total benefit claims
  charged under these contracts during the Plan Year were $15,709,310.

  For the portion of “non experience-rated” contracts, the total insurance premiums paid by
  both employer and participants for the Plan Year under these contracts were $26,123,861.



  Flexible Benefits Plan
    - Plan No. 520 (the “Plan”)
  Benefits included in the Plan are Healthcare Flexible Spending Account and Dependent
  Care Flexible Spending Account.

  Basic Financial Statement – Healthcare Flexible Spending Account
  Healthcare Flexible Spending Account is administered by PayFlex. Plan expenses for the
  year amounted to $3,635,725.40. Participant deposits to the Plan totaled $3,637,341.74.
  There were a total of 2,158 participants in the program during the Plan Year.

  Basic Financial Statement – Dependent Care Flexible Spending Account
  Dependent Care Flexible Spending Account is administered by PayFlex. Plan expenses for
  the year amounted to $11,583,670.81. Participant deposits to the Plan totaled
  $12,235,640.63. There were a total of 3,332 participants in the program during the Plan
  Year.


  Your rights to additional information
  You have the right to receive a copy of the full annual report, or any part thereof, upon
  request. The items listed below are included in that report wherever applicable:

     1. An accountant’s report;
     2. Assets held for investment;
     3. Transactions in excess of five (5) percent of Plan assets;
     4. Insurance information including sales commissions paid by the insurance carriers;
        and
     5. Actuarial information.

  To obtain a copy of the full annual report, or any part thereof, write or call the:

          Johnson & Johnson Benefit Service Center
          Dept 00695
          PO Box 64117
          The Woodlands, TX 77387-4117
          1-800-565-0122

  The charge to cover copying costs will be up to $.25 per page for the full annual report or
  any part thereof. The cost of the full annual report will be determined by its length. In no
  case will the cost of the full annual report exceed the rate of up to $.25 per page.

  You also have the right to receive from the Plan Administrator, upon request and at no
  charge, a statement of the assets and liabilities of the Plans and accompanying notes, or a
  statement of income and expenses of the Plans and accompanying notes, or both,
  wherever applicable. If you request a copy of the full annual report from the Plan
  Administrator, these two statements and accompanying notes will be included as part of
  that report. The charge to cover copying costs will not include a charge for the copying of
  these portions of the report because these portions are furnished without charge.

  You also have the legally protected right to examine the annual report at the above address,
  at the main office of the Plan (Johnson & Johnson, 1 Johnson & Johnson Plaza, New
  Brunswick, NJ 08933), and at the U.S. Department of Labor in Washington, DC, or to obtain
  a copy from the U.S. Department of Labor upon payment of copying costs.

  Requests to the Department of Labor should be addressed to:

          Public Disclosure Room, Room N-1513
          Employee Benefits Security Administration
          U.S. Department of Labor
          200 Constitution Avenue, NW
          Washington, DC 20210
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  Additional Explanation
  This Summary Annual Report is intended for all participants who were covered by any of
  these benefit plans during the Plan Year indicated. Therefore, not all sections apply to
  everyone. Receipt of this Summary Annual Report, in and of itself, is not indicative of
  benefits entitlement now or in the future. If you have any questions, please contact the
  Johnson & Johnson Benefit Service Center.

  The benefits provided under your benefit plans are described in various Benefit Plan
  Summaries. These summaries are updated periodically and can be accessed online by
  logging on to For Your Benefit (FYB) at: http://digital.alight.com/jnjbsc.

  If you experience difficulty with the log on process, or do not have internet access and wish
  to receive a copy of your benefit plan summaries, please contact the Johnson & Johnson
  Benefit Service Center for assistance at 1-800-565-0122. Please note that the benefits
  applicable to specific Plan participants are determined by the effective dates of Plan
  changes and other Plan membership rules.




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  and should not be forwarded or otherwise disclosed beyond
  the recipients
  Do not forward or distribute.
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                Summary Plan Description:
      Prescription Drug Coverage Details Supplement
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PRESCRIPTION DRUG COVERAGE
DETAILS SUPPLEMENT


This summary applies to individuals enrolled in one of the following medical
options: Premier HSA Plan, HRA Plan, Group PPO Plan and Group Medicare
Advantage PPO Plan.




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PRESCRIPTION DRUG COVERAGE                                                 INTRODUCTION


INTRODUCTION
This summary applies to individuals enrolled in one of the following medical options: Premier
HSA Plan, HRA Plan, Group PPO Plan and Group Medicare Advantage PPO Plan. If you are
enrolled in one of these medical options under the Salaried Medical Plan or Salaried Retiree
Medical Plan, this supplement, when taken together with the following other documents:

For the Salaried Medical Plan:
▪   General/Administrative Information Plan Details
▪   Salaried Medical Plan Details
▪   Premier HSA Plan Details Supplement
▪   HRA Plan Details Supplement
▪   Group PPO Plan Details Supplement
▪   Medicare Advantage Evidence of Coverage (EOC)
Important: If you are an active employee enrolled in an HMO, the description of your
prescription drug benefits is provided in the Aetna Self-Funded HMO Plan Details or the
Harvard Pilgrim HMO Plan Details available on the FYB Website; or for a fully insured HMO,
in materials provided to you by the HMO rather than this Prescription Drug Coverage Details
Supplement.

For the Salaried Retiree Medical Plan:
▪   Salaried Retiree Medical Plan for Post-4/1/85 Retirees/Dependents
▪   Premier HSA Plan Details Supplement
▪   HRA Plan Details Supplement
▪   Group PPO Plan Details Supplement
▪   Medicare Advantage Evidence of Coverage (EOC)
is considered your total Summary Plan Description (SPD) for the Salaried Medical Plan or
Salaried Retiree Medical Plan (also referred to in this SPD as the “Plan” or the “Medical
Plan”), as required by the Employee Retirement Income Security Act of 1974 (ERISA).
Please read these documents carefully and refer to them when you need information about
how the Plan works, what the benefits are, what to do in an emergency situation and how to
handle service issues. They are also an excellent source for learning about many of the
special programs available to you as a participant of the Salaried Medical Plan or the
Salaried Retiree Medical Plan.

You will find certain terms starting with capital letters throughout this supplement. To help
you understand your benefits, these terms are defined in the “Glossary of Terms” section in
the Salaried Medical Plan Details (or for retirees, the Salaried Retiree Medical Plan SPD for
Post-4/1/85 Retirees/Dependents) available on the FYB Website.


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PRESCRIPTION DRUG COVERAGE                                                     INTRODUCTION



          ACCESSING PLAN DETAILS/SUMMARY PLAN DESCRIPTIONS (SPDS) AND FORMS
 To access/print Plan Details/SPDs/Medicare Advantage EOC for descriptions of particular benefit
 Plans, or forms and certain other benefit materials, visit the For Your Benefit (FYB) Website at
 http://fyb.jnj.com.
 Alternatively, you can submit a request through the FYB Website to have copies of these
 documents sent to your mailing address on file. You may also call the Benefit Service Center at 1-
 800-565-0122 (if calling from outside the U.S. or Canada: 1-847-883-0796; TDD: please call your
 local relay service). You will receive the materials requested within 30 days.




For Your Benefit (FYB)
To access the For Your Benefit (FYB) Website, log on to http://fyb.jnj.com. When you log on
you will need to provide your User ID and benefits password (see the box on the next page).

Benefit Service Center
If you have questions as you read through this Supplement, you may contact the Benefit
Service Center at the numbers below. When you call, you will need to provide the last four
digits of your Social Security number, your birth date and your benefits password (see the
box on the next page). The phone numbers below include voice prompts that will connect
you directly to the Service Administrators for the Salaried Medical Plan and Salaried Retiree
Medical Plan.

To speak with a Benefit Service Representative, call the Benefit Service Center at the
applicable number below and say “Representative” at the main menu. Representatives are
available Monday through Friday, between 9:00 a.m. and 5:00 p.m., Eastern Time.

    1-800-565-0122          Benefit Service Center

    1-847-883-0796          For callers outside the United States or Canada

    TDD                     Please call your local relay service




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PRESCRIPTION DRUG COVERAGE                                                        INTRODUCTION


                              BENEFIT SERVICE CENTER AUTHENTICATION
   You will need your password whenever you call the Benefit Service Center. Instead of your User
   ID, however, you will enter or say the last four digits of your Social Security number and your date
   of birth.
   To change your User ID or password, visit the FYB Website online as described on the preceding
   page and:
   ▪   If you do not remember your User ID and/or password, at the Log On screen, click on “I Forgot
       My User ID” or “I Forgot My Password.”
   ▪   If you know your User ID and/or password but want to change it, place your cursor over the
       “Your Profile” tab, click “Log On Information” and click on “Change.”
   If you call the Benefit Service Center, say “Password Management” and follow the prompts.
   Your new password will be delivered to your mailing address on file within seven business days.
   You may still call the Benefit Service Center and answer your security questions to authenticate
   while waiting for your new password.




If you cannot find the answer to your question(s) in the supplement, call the Member Services
toll-free number on your ID card. A trained representative will be happy to help you. For
more information, go to the “Member Services” section in the Salaried Medical Plan Details
(or for retirees, the Salaried Retiree Medical Plan SPD for Post-4/1/85 Retirees/Dependents)
available on the FYB Website.

This supplement applies only to those individuals described in the Overview And Eligibility
section on the next page.




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PRESCRIPTION DRUG COVERAGE                                             OVERVIEW & ELIGIBILITY


OVERVIEW AND ELIGIBILITY
Prescription drug benefits are administered by Express Scripts as follows:

Express Scripts Prescription Drug Plan For Non-Medicare-Eligible
Individuals
This is the prescription drug coverage for:
▪   Active employees and their covered Dependents enrolled in the Premier HSA Plan, HRA
    Plan or Group PPO Plan; and
▪   Eligible Disabled Individuals or retirees and their covered Dependents enrolled in the
    Premier HSA Plan, HRA Plan or Group PPO Plan who are:
    − Not eligible for Medicare; or
    − Eligible for Medicare but not a citizen of the U.S. or not lawfully present in the U.S.
Express Scripts Medicare® (PDP) For Johnson & Johnson
This is the prescription drug coverage for:
▪   Eligible Disabled Individuals or retirees and their covered Dependents enrolled in the
    Premier HSA Plan, HRA Plan, Group PPO Plan or Group Medicare Advantage PPO Plan
    who are:
    − Eligible for Medicare Part A; and/or
    − Enrolled in Medicare Part B; and
    − A citizen of the U.S. or lawfully present in the U.S.
The Express Scripts Medicare® (PDP) for Johnson & Johnson is a Company-sponsored
Medicare Part D prescription drug plan approved by the Centers for Medicare & Medicaid
Services (CMS).

                    NOTE TO ELIGIBLE DISABLED INDIVIDUALS AND RETIREES
    For Eligible Disabled Individuals and retirees, the determination of which plan you (Eligible
    Disabled Individual/retiree or a Dependent) are in is made on an individual basis.
    Therefore—if you (the Eligible Disabled Individual/retiree) are eligible for Medicare and your
    Dependent is not, you will be enrolled in the Express Scripts Medicare® (PDP) for Johnson
    & Johnson—and your Dependent will be enrolled in the Express Scripts prescription drug
    plan for non-Medicare-eligible individuals. Conversely, if you are not eligible for Medicare
    but your Dependent is, you will be enrolled in the Express Scripts prescription drug plan for
    non-Medicare-eligible individuals and your Dependent will be enrolled in the Express Scripts
    Medicare® (PDP) for Johnson & Johnson.




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PRESCRIPTION DRUG COVERAGE                                       OVERVIEW & ELIGIBILITY

ID Cards And Contact Numbers
Express Scripts Prescription Drug Plan for Non-Medicare Eligible
Individuals
Members will receive 2 ID cards for their family to use with the subscriber name only on the
card.

Express Scripts Medicare (PDP) for Johnson & Johnson Medicare
Members will receive their own individual single ID card with their own name on it.

Please note that the Member Services telephone number is different for the non-Medicare
versus Medicare plan, as shown below:

Express Scripts Prescription Drug Plan for Non-Medicare-Eligible Individuals: 1-866-713-
7779; 24 hours a day, 7 days a week except Thanksgiving and Christmas days.

Express Scripts Medicare® (PDP) for Johnson & Johnson: 1-877-891-1143; 24 hours a day, 7
days a week.

For More Information
For more information about enrolling for prescription drug coverage, when coverage is
effective, how to file a claim or an appeal, what happens if you retire, etc., refer to the
General/Administrative Information Plan Details and Salaried Medical Plan Details (or for
retirees, the Salaried Retiree Medical Plan SPD for Post-4/1/85 Retirees/Dependents)
available on the FYB Website.




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PRESCRIPTION DRUG COVERAGE                             NON-MEDICARE PLAN BENEFITS


EXPRESS SCRIPTS PRESCRIPTION DRUG PLAN FOR NON-
MEDICARE-ELIGIBLE INDIVIDUALS
How The Annual Deductible And Out-of-Pocket Maximum Relate To
Prescription Drug Expenses
The medical option you are in determines whether your prescription drug expenses are
subject to the medical option’s Annual Deductible and/or Out-of-Pocket Maximum, as follows
(for more information about the Annual Deductible or Out-of-Pocket Maximum, refer the
Premier HSA Plan Details Supplement, HRA Plan Details Supplement or Group PPO Plan
Details Supplement available on the FYB Website):
Premier HSA Plan
Under the Premier HSA Plan, your Annual Deductible must be met before most prescription
drugs will be paid by the plan. Before the Annual Deductible is met, you will be responsible
for the full discounted price (at participating retail pharmacies or home delivery) or the full
retail price (at non-participating retail pharmacies), and that amount will be applied to the
Annual Deductible. Any minimums and maximums (described below) do not apply until the
Annual Deductible has been met. Expenses for prescription drugs also count toward the Out-
of-Pocket Maximums.

According to IRS guidelines, certain prescription drugs that are used in the treatment of
certain conditions can be covered under the Premier HSA Plan bypassing the Annual
Deductible. The Premier HSA Plan includes coverage for certain prescription drugs – those
on the “Prescription Drugs that do not require a Deductible under the Premier HSA Plan” list
– before you meet the Annual Deductible. This drug list is created by Express Scripts, in
accordance with the IRS, and may change from time to time. Find this list on the FYB
Website or by contacting Express Scripts.
  ▪   Drugs manufactured/marketed by the Johnson & Johnson Family of Companies on the
      “Prescription Drugs that do not require a Deductible under the Premier HSA Plan” list
      will be covered at 100%.
  ▪   All other drugs on the “Prescription Drugs that do not require a Deductible under the
      Premier HSA Plan” list will be covered at the usual prescription drug coinsurance
      described below.
  For all drugs not on the ”Prescription Drugs that do not require a Deductible under the
  Premier HSA Plan” list, including those manufactured/ marketed by the Johnson &
  Johnson Family of Companies, you pay the full cost of the drug until you meet the Annual
  Deductible.
HRA Plan
Under the HRA Plan, prescription drug expenses do not count toward satisfying the Annual
Deductible. However, expenses for prescription drugs do count toward the Out-of-Pocket
Maximums.

Prescription drug expenses cannot be paid for by your HRA Fund.

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PRESCRIPTION DRUG COVERAGE                              NON-MEDICARE PLAN BENEFITS

Group PPO Plan
Under the Group PPO Plan, prescription drug expenses do not count toward satisfying either
the Annual Deductible or the Out-of-Pocket Maximum. However, the Coinsurance amounts
for prescription drugs do count toward the prescriptions drug Out-of-Pocket Maximum
described below:
PRESCRIPTION DRUG OUT-OF-POCKET MAXIMUM
The prescription drug Out-of-Pocket Maximum under the Group PPO Plan is the most you
will need to pay within a Plan Year for your Coinsurance amounts for all prescription drugs
purchased through a retail pharmacy or through home delivery.

The individual prescription drug Out-of-Pocket Maximum is $2,000. The family prescription
drug Out-of-Pocket Maximum is two times the individual amount, or $4,000. The $4,000
family prescription drug Out-of-Pocket Maximum can be satisfied by any combination of
individual prescription drug Out-of-Pocket Maximum amounts. However, no one family
member can satisfy more than the stated individual prescription drug Out-of-Pocket Maximum
toward meeting the family prescription drug Out-of-Pocket Maximum. Once met, all eligible
prescription drug expenses will be paid at 100% of the prescription drug’s discounted price if
purchased at a participating retail pharmacy or through home delivery or 100% of the retail
price if purchased at a non-participating retail pharmacy for the remainder of the Plan Year.

The prescription drug Out-of-Pocket Maximum does not include ineligible expenses and, for
prescription drugs purchased at a participating retail pharmacy or through home delivery,
amounts that exceed a prescription drug’s discounted price.

Filling Prescriptions Through A Retail Pharmacy
Participating Retail Pharmacy

You must present your Express Scripts ID card to the pharmacist to receive In-Network
benefits. You pay 20% of a prescription drug’s discounted price, up to a maximum of $125
per prescription for up to a 30-day supply. The plan pays 80%, plus any additional cost
above your $125 maximum charge. There is a $10 minimum; however, if a drug costs less
than $10, you will pay the actual cost.

Reminder: Under the Premier HSA Plan, for most prescription drugs, you must first meet
your Annual Deductible before the plan will start paying benefits (for exceptions to this, see
the “Prescription Drugs that do not require a Deductible under the Premier HSA Plan” list on
the FYB Website).

Provided you present your Express Scripts ID card at the time of purchase, you do not need
to submit a claim form.

To check if your pharmacy is a participating pharmacy, call Member Services at the phone
number on your Express Scripts ID card or log on to www.express-scripts.com/jnj.




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PRESCRIPTION DRUG COVERAGE                              NON-MEDICARE PLAN BENEFITS

Non-Participating Retail Pharmacy
You are responsible for 20% of the retail price and the plan will reimburse you 80% of the
retail price; however, the plan minimums and maximums do not apply. You will need to pay
the pharmacy and submit a claim form for reimbursement. Claim forms and instructions are
available on the FYB Website.

Reminder: Under the Premier HSA Plan, for most prescription drugs, you must first meet
your Annual Deductible before the plan will start paying benefits (for exceptions to this, see
the “Prescription Drugs that do not require a Deductible under the Premier HSA Plan” list on
the FYB Website).

Filling Prescriptions Through Home Delivery
If you use the home delivery prescription option for eligible maintenance prescriptions, you
pay 15% of a prescription drug’s discounted price, up to a maximum of $125 per prescription
for up to a 90-day supply. The plan pays 85%, plus any additional cost above your $125
maximum charge. There is a $20 minimum; however, if a drug costs less than $20, you will
pay the actual cost of the drug.

Reminder: Under the Premier HSA Plan, for most prescription drugs, you must first meet
your Annual Deductible before the plan will start paying benefits (for exceptions to this, see
the “Prescription Drugs that do not require a Deductible under the Premier HSA Plan” list on
the FYB Website).

Forms and instructions are available through the FYB Website and at www.express-
scripts.com/jnj. You can order home delivery prescription refills online at www.express-
scripts.com/jnj or by calling Express Scripts at 1-866-713-7779.

Non-Sedating Antihistamines (NSAs) And Proton Pump Inhibitors (PPIs)
For prescription Non-Sedating Antihistamines (NSAs) and prescription Proton Pump
Inhibitors (PPIs), you pay 40%, no minimum or maximum, for up to a 30-day supply for
participating and non-participating retail pharmacies and up to a 90-day supply for home
delivery.

Reminder: Under the Premier HSA Plan, for most prescription drugs, you must first meet
your Annual Deductible before the plan will start paying benefits (for exceptions to this, see
the “Prescription Drugs that do not require a Deductible under the Premier HSA Plan” list on
the FYB Website).

60% Covered Medications
For certain prescription medications, because of the availability and value of lower cost
alternatives you pay 40%, no minimum or maximum, for up to a 30-day supply for
participating and non-participating retail pharmacies and up to a 90-day supply for home
delivery.

For a list of these medications, please visit the FYB Website or the Express Scripts member
website at www.express-scripts.com/jnj.


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PRESCRIPTION DRUG COVERAGE                              NON-MEDICARE PLAN BENEFITS

Reminder: Under the Premier Medical HSA Plan, for most prescription drugs, you must first
meet your Annual Deductible before the plan will start paying benefits (for exceptions to this,
see the “Prescription Drugs that do not require a Deductible under Premier Medical HSA
Plan” list on the FYB Website).

Contraceptive Drugs
Prescription contraceptive drugs are covered as follows:
▪   Prescription generic contraceptive drugs and prescription intravaginal devices purchased
    at any participating or non-participating retail pharmacy and through home delivery are
    covered at 100%. Brand contraceptive drugs may be covered at 100% upon review by
    Express Scripts.
▪   Contraceptive drugs manufactured/marketed by the Johnson & Johnson Family of
    Companies and purchased at any retail pharmacy or through home delivery are covered
    at 100%. Under the Premier HSA Plan, you must first meet your Annual Deductible
    before the plan will start paying benefits.
Approved Tobacco Cessation Medications And Nicotine Replacement
Products
The plan pays 100% for approved prescription and over-the-counter tobacco cessation
medications and nicotine replacement products.

Drugs Manufactured/Marketed By The Johnson & Johnson Family Of
Companies
The plan pays 100% for drugs that are manufactured or marketed by the Johnson & Johnson
Family of Companies; this applies to drugs obtained at any pharmacy or through home
delivery. A list of these drugs is available on the FYB Website or by calling Member Services
at the phone number on your Express Scripts ID card.

Reminder: Under the Premier HSA Plan, for most prescription drugs
manufactured/marketed by the Johnson & Johnson Family of Companies, you must first meet
your Annual Deductible before the plan will start paying benefits (for exceptions to this, see
the “Prescription Drugs that do not require a Deductible under the Premier HSA Plan” list on
the FYB Website).

Prior Authorization And Drug Quantity Management
Express Scripts also provides services to promote and enforce the appropriate use of
pharmacy benefits, such as review for possible excessive use; proper dosage; drug
interactions or drug/pregnancy concerns. Prescription drugs, unless otherwise stated below,
must be Medically Necessary and not experimental/investigational, in order to be covered
services. For certain prescription drugs, the prescribing Physician may be asked to provide
additional information before Express Scripts can determine Medical Necessity. Express
Scripts may, establish quantity limits, prior authorizations or other plan limits for specific
prescription drugs. Covered services will be limited based on Medical Necessity, quantity
limits established by the plan, or utilization guidelines. Please ask your Provider or Network


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PRESCRIPTION DRUG COVERAGE                               NON-MEDICARE PLAN BENEFITS

pharmacist to check with Express Scripts to verify any applicable limits or utilization
guidelines.

Specialty Medications: Express Scripts will need to review and approve new prescriptions
for certain specialty medications (excluding medications that are manufactured/marketed by
the Johnson & Johnson Family of Companies) with your doctor before they can be covered
under your prescription drug benefit.

If you or a covered Dependent has a new prescription for a specialty medication, ask your
doctor to call Express Scripts at 1-844-374-7377 (24 hours a day, 7 days a week) to arrange
for a review of this medication to minimize delays in obtaining the medication at your local
pharmacy. Your doctor will need to provide Express Scripts with detailed information to
ensure it is being utilized based on FDA-approved prescribing and safety information, clinical
guidelines and uses that are considered reasonable, safe and effective.

A specialty medication is defined as a drug that is typically used to treat a chronic, complex
condition, such as cancer, growth hormone deficiency, hemophilia, hepatitis C, immune
deficiency, multiple sclerosis and rheumatoid arthritis, and has one or more key
characteristics, including:

   •   The requirement for frequent dosing adjustments and intensive clinical monitoring to
       decrease the potential for drug toxicity and increase the probability for beneficial
       treatment outcomes;

   •   The need for intensive patient training and compliance assistance to facilitate
       therapeutic goals

   •   Limited or exclusive specialty pharmacy distribution; and/or

   •   Specialized product handling and/or administration requirements.

Express Scripts’ dedicated specialty pharmacy, Accredo Health Group, Inc., is composed of
therapy-specific teams that provide an enhanced level of personalized service to patients with
special therapy needs. Whether they’re administered by a health care professional, self-
injected or taken by mouth, specialty medications require an enhanced level of service. By
ordering your specialty medication through Accredo, you can receive:

   •   Toll-free access to specialty-trained pharmacists and nurses 24/7

   •   Expedited, scheduled delivery of your medications at no additional charge

   •   Necessary supplies, such as needles and syringes, provided with your medications

   •   Safety checks to help prevent potential drug interactions

   •   Refill reminders, and

   •   Health and safety monitoring.


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PRESCRIPTION DRUG COVERAGE                            NON-MEDICARE PLAN BENEFITS

Note: If you or a covered Dependent were prescribed and taking a specialty medication,
prior authorization may be required by Express Scripts in the future to continue to be
covered.

Compound Medications
Compound medications, by nature, have multiple ingredients. Since they are not regulated
by the U.S. Food and Drug Administration (FDA), they can pose serious risks to patients and
may not even be effective to treat the diagnosed condition. Therefore, since the FDA does
not confirm their quality, safety and effectiveness, compound medications are not covered
under the prescription drug plan for non-Medicare-eligible individuals. If your Doctor
prescribes a compound medication, ask him or her to prescribe you an FDA-approved
medication and contact Express Scripts Customer Service at the phone number on your
Express Scripts ID card to make sure the prescription will be covered under your plan.

Miscellaneous Medications
Medications that are non-FDA approved or that offer no therapeutic improvement including
compounding kits, pain patches or topical creams/ointments or gels are not covered under
the plan.




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PRESCRIPTION DRUG COVERAGE                                    MEDICARE PLAN BENEFITS


EXPRESS SCRIPTS PRESCRIPTION DRUG PLAN FOR
MEDICARE INDIVIDUALS
The Express Scripts Medicare® (PDP) for Johnson & Johnson does not have the deductible
stage that many other Medicare Part D plans have but is required by the Centers for
Medicare & Medicaid Services (CMS) to have the other stages that a standard Medicare Part
D plan has. These are the: initial coverage stage, coverage gap (informally known as the
“donut hole”) stage and catastrophic coverage stage. However, because the Company is
providing a benefit that provides an enhanced benefit to the standard Medicare Part D benefit
– that is, a more generous benefit above and beyond the standard Medicare Part D plan –
you will pay the same Coinsurance percentages in the initial coverage and coverage gap
stages. Under the Express Scripts Medicare® (PDP) for Johnson & Johnson:
▪   There is no deductible;
▪   The Coinsurance percentages that you pay will be the same in the initial coverage and
    coverage gap stages so you will not experience a coverage gap; and
▪   If you reach the catastrophic coverage stage (it is reached after your yearly out-of-pocket
    drug costs [referred to as the True Out-of-Pocket (TrOOP)] reach a certain amount), you
    will pay a lower Coinsurance percentage for your prescription drugs for the balance of the
    Plan Year.
Note: Prescription drug expenses do not count toward satisfying either the Annual
Deductible or Out-of-Pocket Maximum under your Medical Plan option. There is not a
prescription drug Out-of-Pocket Maximum under the Express Scripts Medicare® (PDP) for
Johnson & Johnson.

Filling Prescriptions Through A Retail Pharmacy
Participating Retail Pharmacy
If you take your prescription to a participating retail pharmacy and present your Express
Scripts Medicare ID card, you will pay 20% of a prescription drug’s discounted price, up to a
maximum of $125 per prescription for up to a 31-day supply. The plan pays 80%, plus any
additional cost above your $125 maximum charge. There is a $10 minimum; however, if a
drug costs less than $10, you will pay the actual cost. Provided you present your Express
Scripts Medicare ID card at the time of purchase, you do not need to submit a claim form.
To check if your pharmacy is a participating pharmacy, call Customer Service at the phone
number on your Express Scripts Medicare ID card or log on to www.Express-Scripts.com/jnj.

Note: Veteran’s Administration (VA) pharmacies are not participating pharmacies. If you are
eligible for prescription drug coverage through the VA, you can still use that coverage instead
of coverage under the Express Scripts Medicare® (PDP) for Johnson & Johnson.
Non-Participating Retail Pharmacy
In an emergency situation, if you take your prescription to a non-participating retail pharmacy,
your responsibility will be 20% of a prescription drug’s retail price, up to a maximum of $125
per prescription for up to a 31-day supply. However, you will need to pay the full retail price

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PRESCRIPTION DRUG COVERAGE                                   MEDICARE PLAN BENEFITS

of the drug at the pharmacy and submit a claim form (available through the FYB Website and
at www.Express-Scripts.com/jnj) for reimbursement. The plan will reimburse you 80% of the
retail cost of the prescription, plus any additional cost above your $125 maximum charge.
There is a $10 minimum; however, if a drug costs less than $10, you will pay the actual cost.
Important: If an emergency does not apply, there will not be any benefit paid for a
prescription received at a non-participating retail pharmacy.

Filling Prescriptions Through Home Delivery
If you use the home delivery prescription option for eligible maintenance prescriptions, you
pay 15% of a prescription drug’s discounted price, up to a maximum of $125 per prescription
for up to a 90-day supply. The plan pays 85%, plus any additional cost above your $125
maximum charge. There is a $20 minimum; however, if a drug costs less than $20, you will
pay the actual cost of the drug.

Forms and instructions are available through the FYB Website and at www.Express-
Scripts.com/jnj. You can order home delivery prescription refills online at www.Express-
Scripts.com/jnj or by calling Express Scripts at 1-877-891-1143.

Non-Sedating Antihistamines (NSAs) And Proton Pump Inhibitors (PPIs)
Prescription Non-Sedating Antihistamines (NSAs) and prescription Proton Pump Inhibitors
(PPIs) are covered at the same Coinsurance levels as other prescription drugs, as described
above, depending on where they are purchased.

Contraceptive Drugs
Prescription contraceptive drugs are covered as follows:
▪   Generic contraceptive drugs purchased at any participating retail pharmacy and through
    home delivery are covered at 100%. Generic contraceptive drugs purchased at a non-
    participating retail pharmacy are not considered an ‘emergency medication’ and therefore
    would not be covered.
▪   Contraceptive drugs manufactured/marketed by the Johnson & Johnson Family of
    Companies and purchased at any retail pharmacy or through home delivery are covered
    at 100%.
Tobacco Cessation Medications And Nicotine Replacement Products
The plan pays 100% for approved prescription and over-the-counter tobacco cessation
medications and nicotine replacement products.

Drugs Manufactured/Marketed By The Johnson & Johnson Family Of
Companies
The plan pays 100% for drugs that are manufactured or marketed by the Johnson & Johnson
Family of Companies; this applies to drugs obtained at any pharmacy or through home
delivery. A list of these drugs is available on the FYB Website or by calling Customer Service
at the phone number on your Express Scripts Medicare ID card.



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Catastrophic Coverage
CATASTROPHIC COVERAGE

Once an individual’s out-of-pocket costs in a Plan Year reach the Medicare Part D “true out-
of-pocket” limit (TrOOP) − $7,050 for 2022 − the plan pays an enhanced benefit for your
prescription drugs (minimum of 95%) for the balance of the Plan Year. TrOOP is the amount
you and/or others pay on your behalf during the Plan Year for your prescription drugs,
including manufacturer discounts but excluding payments made by the Express Scripts
Medicare® (PDP) for Johnson & Johnson.

Medicare Part B Versus Medicare Part D Prescription Drug Determination
Certain drugs may be covered as either a Medicare Part B or Part D drug depending on the
reason they were prescribed. Express Scripts will perform a coverage review to determine
the appropriate payer (Medicare Part B or Part D) before your pharmacy fills your
prescription.

Prior Authorization And Drug Quantity Management
Express Scripts also provides services to promote and enforce the appropriate use of
pharmacy benefits, such as review for possible excessive use; proper dosage; drug
interactions or drug/pregnancy concerns. Prescription drugs, unless otherwise stated below,
must be Medically Necessary and not experimental/investigational, in order to be covered
services. For certain prescription drugs, the prescribing Physician may be asked to provide
additional information before Express Scripts can determine Medical Necessity. Express
Scripts may, in its sole discretion, establish quantity limits, prior authorizations or other plan
limits for specific prescription drugs. Covered services will be limited based on Medical
Necessity, quantity limits established by the plan, or utilization guidelines. Please ask your
Provider or Network pharmacist to check with Express Scripts to verify any applicable limits
or utilization guidelines.

Specialty Medications: Express Scripts will need to review and approve new prescriptions
for certain specialty medications (excluding medications that are manufactured/marketed by
the Johnson & Johnson Family of Companies) with your doctor before they can be covered
under your prescription drug benefit.

If you or a covered Dependent has a new prescription for a specialty medication, ask your
doctor to call Express Scripts at 1-844-374-7377 (24 hours a day, 7 days a week) to arrange
for a review of this medication to minimize delays in obtaining the medication at your local
pharmacy. Your doctor will need to provide Express Scripts with detailed information to
ensure it is being utilized based on FDA-approved prescribing and safety information, clinical
guidelines and uses that are considered reasonable, safe and effective.

A specialty medication is defined as a drug that is typically used to treat a chronic, complex
condition, such as cancer, growth hormone deficiency, hemophilia, hepatitis C, immune
deficiency, multiple sclerosis and rheumatoid arthritis, and has one or more key
characteristics, including:


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   •   The requirement for frequent dosing adjustments and intensive clinical monitoring to
       decrease the potential for drug toxicity and increase the probability for beneficial
       treatment outcomes;

   •   The need for intensive patient training and compliance assistance to facilitate
       therapeutic goals

   •   Limited or exclusive specialty pharmacy distribution; and/or

   •   Specialized product handling and/or administration requirements.

Note: If you or a covered Dependent were prescribed and taking a specialty medication prior
authorization may be required by Express Scripts in the future to continue to be covered.

Express Scripts’ dedicated specialty pharmacy, Accredo Health Group, Inc., is composed of
therapy-specific teams that provide an enhanced level of personalized service to patients with
special therapy needs. Whether they’re administered by a health care professional, self-
injected or taken by mouth, specialty medications require an enhanced level of service. By
ordering your specialty medication through Accredo, you can receive:

   •   Toll-free access to specialty-trained pharmacists and nurses 24/7

   •   Expedited, scheduled delivery of your medications at no additional charge

   •   Necessary supplies, such as needles and syringes, provided with your medications

   •   Safety checks to help prevent potential drug interactions

   •   Refill reminders, and

   •   Health and safety monitoring.

Compound Medications
Compound medications, by nature, have multiple ingredients. Since they are not regulated
by the U.S. Food and Drug Administration (FDA), they can pose serious risks to patients and
may not even be effective to treat the diagnosed condition. Therefore, since the FDA does
not confirm their quality, safety and effectiveness, compound medications are not covered
under the Express Scripts Medicare® (PDP) for Johnson & Johnson. If your Doctor
prescribes a compound medication, ask him or her to prescribe you an FDA-approved
medication and contact Express Scripts Customer Service at the phone number on your
Express Scripts Medicare ID card to make sure the prescription will be covered under your
plan.

Miscellaneous Medications
Medications that are non-FDA approved or that offer no therapeutic improvement including
compounding kits, pain patches or topical creams/ointments or gels are not covered under
the plan.

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PRESCRIPTION DRUG COVERAGE                                    MEDICARE PLAN BENEFITS

Medication Therapy Management (MTM)
This is a free service available to individuals enrolled in the Express Scripts Medicare® (PDP)
for Johnson & Johnson. You may be invited to participate in this program which is designed
for your specific health and pharmacy needs. The program provides for one-on-one patient
consultation with trained staff to help with a patient's self-management of medication.
Participation is voluntary, so you may decide not to participate.

Extra Help For Low-Income Individuals
If Medicare identifies you as an individual that qualifies for “Extra Help” to pay for your
prescription drug costs, you will receive a letter from Express Scripts informing you of your
low-income subsidy level for the year. This financial assistance can take the form of premium
reductions and/or enhanced benefits. If you qualify for Extra Help, the Coinsurance
percentage you pay for most prescription drugs could range from 0% to 15%, depending on
your income level. If you qualify, Express Scripts will advise you of the exact amount of your
copay or Coinsurance.

Additional Premium For High Income Individuals
An additional premium for Medicare Part D coverage, called the "income-related monthly
adjustment amount" (D-IRMAA), was introduced by the Affordable Care Act (Health Care
Reform). If your modified adjusted gross income as reported on your IRS tax return from two
years ago is in excess of $85,000 as an individual or $170,000 for a couple filing a joint tax
return, you will have to pay extra for your Medicare prescription drug coverage. See the
“Additional Premium For High-Income Medicare-Eligible Individuals” in the
General/Administrative Information Plan Details (for Eligible Disabled Individuals) or the
Salaried Retiree Medical Plan SPD for Retirees/Dependents (for retirees) available on the
FYB Website for more information.




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                             Exhibit D

 Premier HSA Medical Plan Details Supplement
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              PREMIER HSA MEDICAL PLAN DETAILS
              SUPPLEMENT




              2023 PLAN YEAR




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PREMIER HSA MEDICAL PLAN                                                                                                                           CONTENTS

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              INTRODUCTION
              If you are enrolled in the Premier HSA Medical Plan option available under the Salaried
              Medical Plan or Salaried Retiree Medical Plan, this supplement, when taken together with the
              following other documents:

              For the Salaried Medical Plan:
              ▪    General/Administrative Information Plan Details
              ▪    Salaried Medical Plan Details
              ▪    Prescription Drug Coverage Details Supplement
              For the Salaried Retiree Medical Plan:
              ▪    Salaried Retiree Medical Plan for Post-4/1/85 Retirees/Dependents
              ▪    Prescription Drug Coverage Details Supplement
              is considered your total Summary Plan Description (SPD) for the Salaried Medical Plan or
              Salaried Retiree Medical Plan (also referred to in this SPD as the “Plan” or the “Medical
              Plan”), as required by the Employee Retirement Income Security Act of 1974 (ERISA) (see
              Note below). Please read these documents carefully and refer to them when you need
              information about how the Plan works, what the benefits are, what to do in an emergency
              situation and how to handle service issues. They are also an excellent source for learning
              about many of the special programs available to you as a participant of the Salaried Medical
              Plan or Salaried Retiree Medical Plan.

              Note: The Health Savings Account (HSA) component of the Premier HSA Medical Plan is
              not subject to ERISA; however, description and operation information about the Premier HSA
              Medical Plan is included in this document.

              You will find certain terms starting with capital letters throughout this supplement. To help
              you understand your benefits, these terms are defined in the “Glossary of Terms” section in
              the Salaried Medical Plan Details (or for retirees, the Salaried Retiree Medical Plan SPD for
              Post-4/1/85 Retirees/ Dependents) available on the FYB Website.




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              PREMIER HSA MEDICAL PLAN                                                           INTRODUCTION



                      ACCESSING PLAN DETAILS/SUMMARY PLAN DESCRIPTIONS (SPDS) AND FORMS
              To access Plan Details/SPDs/Medicare Advantage EOC (Evidence of Coverage) for descriptions
              of particular benefit plans, or forms and certain other benefit materials, visit the For Your Benefit
              (FYB) Website at digital.alight.com/jnjbsc.
              Alternatively, you can submit a request through the FYB Website to have copies of Plan
              Details/SPDs/Plan Descriptions sent to your mailing address on file. You may also call the Benefit
              Service Center at 1-800-565-0122 (if calling from outside the U.S. or Canada: 1-847-883-0796;
              TDD: please call your local relay service). You will receive the materials requested within 30
              days.



              For Your Benefit (FYB)
              To access the For Your Benefit (FYB) Website, log on to digital.alight.com/jnjbsc.

              Calling The Benefit Service Center
              If you have questions as you read through this supplement, you may contact the Benefit
              Service Center at the numbers below. When you call, you will need to provide the last four
              digits of your Social Security number, your birth date and your benefits password (see the
              box below). The phone numbers that follow include voice prompts that will connect you
              directly to the Service Administrators for the Salaried Medical Plan.
              To speak to a Benefit Service Representative, call the Benefit Service Center at the
              applicable number below and say “Representative” at the main menu. Representatives are
              available Monday through Friday, between 9:00 a.m. and 5:00 p.m., Eastern Time.
              1-800-565-0122        Benefit Service Center
              1-847-883-0796        For callers outside the United States or Canada
              TDD Please call your local relay service




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                                          BENEFIT SERVICE CENTER AUTHENTICATION
               You will need your password whenever you call the Benefit Service Center. Instead of your User ID,
               however, you will enter or say the last four digits of your Social Security number and your date of
               birth.
               To change your User ID or password, visit the FYB Website online as described above and:
               ▪   If you do not remember your User ID and/or password, at the Log On screen, click on “I Forgot
                   My User ID” or “I Forgot My Password.”
               ▪   If you know your User ID and/or password but want to change it, place your cursor over the
                   “Your Profile” tab, click “Log On Information” and click on “Change.”
               If you call the Benefit Service Center, say “Password Management” and follow the prompts.
               Your new password will be delivered to your mailing address on file within seven business days.
               You may still call the Benefit Service Center and answer your security questions to authenticate
               while waiting for your new password.




              If you cannot find the answer to your question(s) in the supplement, call the Member Services
              toll-free number on your ID card. A trained representative will be happy to help you. For
              more information, go to the “Member Services” section in the Salaried Medical Plan Details
              (or for retirees, the Salaried Retiree Medical Plan SPD for Post-4/1/85 Retirees/Dependents)
              available on the FYB Website.

              This supplement applies only to those individuals described in the “Eligibility” section in the
              Salaried Medical Plan Details (or for retirees, the Salaried Retiree Medical Plan SPD for Post-
              4/1/85 Retirees/Dependents) available on the FYB Website.




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              PREMIER HSA MEDICAL PLAN                                                 PLAN FEATURES


              PREMIER HSA MEDICAL PLAN FEATURES
              The Premier HSA Medical Plan has an Annual Deductible, In-Network and Out-of-Network
              Coinsurance and a Health Savings Account (HSA). In-Network and Out-of-Network Out-of-
              Pocket Maximums also apply.

              The Service Administrator for the Premier HSA Medical Plan is Aetna. Bank of America is
              the custodian for the HSA. The Service Administrator for the prescription drug benefit is
              Express Scripts. See the Prescription Drug Coverage Details Supplement, available on the
              FYB Website, for information about prescription drug coverage.

              Annual Deductible
              The Annual Deductible is the amount of eligible medical expenses you are responsible to pay
              each Plan Year before the Premier HSA Medical Plan begins to pay a percentage of those
              expenses.

              Annual Deductible amounts are combined for In-Network and Out-of-Network Services and
              are based on Coverage Category. The amounts are as follows:

                                                ANNUAL DEDUCTIBLES
              COVERAGE CATEGORY                                       ANNUAL DEDUCTIBLE
              You Only                                                       $1,500
              You + Spouse/Partner                                           $3,000
              You + Child(ren)                                               $3,000
              You + Family                                                   $3,000
              Spouse/Partner Only*                                           $1,500
              Spouse/Partner + Child(ren)*                                   $3,000
              Child Only*                                                    $1,500
              Children Only*                                                 $3,000

              * These Coverage Categories apply only to a spouse, partner or child(ren) of a retiree or
                 Eligible Disabled Individual where covered family members (yourself and your
                 Dependents) may be enrolled in different medical options.

              Any combination of expenses from one or more family members can satisfy the Annual
              Deductible. With the exception of In-Network Preventive Care Services, approved over-the-
              counter and prescription tobacco cessation medications, generic female contraceptives, and
              other prescription drugs that are eligible to bypass the Annual Deductible as determined by
              Express Scripts; all eligible health care expenses, including prescription drug expenses, are
              subject to the Annual Deductible. (The “Prescription Drugs that do not require a Deductible
              under the Premier HSA Medical Plan” list is available on the FYB Website and on the Home
              Page of the Express Scripts website www.Express-Scripts.com/jnj.)

              The Annual Deductible applies toward the Out-of-Pocket Maximums.

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              PREMIER HSA MEDICAL PLAN                                                   PLAN FEATURES

              HSA
              Provided you are enrolled in the Premier HSA Medical Plan and successfully pass the
              “customer identification process” described below, Bank of America will set up a Health
              Savings Account (HSA) for you.

              Customer Identification Process: To process HSA enrollments, in accordance with
              Section 325 of the USA Patriot Act, Bank of America is required to obtain, verify and record
              information that identifies each person who opens an HSA. If this customer identification
              process fails or is incomplete, you must remain enrolled in the Premier HSA Medical Plan
              until the earlier of the next Annual Enrollment or a qualified status change, and you will not
              receive the Company contribution (if you are an employee) or be able to contribute to the
              HSA.

              You can use your HSA to pay for qualified out-of-pocket medical expenses – such as your
              Annual Deductible and Coinsurance – now or in the future. Qualified medical expenses are
              defined by IRS Code 213(d) and include your Annual Deductible. For a complete list (IRS
              Publication 502), call the Internal Revenue Service (IRS) at 1-800-829-3676 or visit
              www.irs.gov and click on “Forms and Pubs.” If you have enrolled in the Premier HSA Medical
              Plan, you may register at www.myhealth.bankofamerica.com to view a listing of qualified
              medical expenses.
              Contributions
              The IRS imposes a limit on how much can be contributed to your HSA each year from you
              and your employer combined. See the chart on the next page.




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                                            2023 ANNUAL CONTRIBUTIONS & LIMITS
                   FAMILY STATUS             2023 COMPANY CONTRIBUTION             2023 IRS CONTRIBUTION LIMITS*
                     CATEGORY                  (ONLY APPLIES TO ACTIVE
                                                     EMPLOYEES)
              You Only                                    $500                                  $3,850
              You + Spouse/Partner                       $1,000                                 $7,750
              You + Child(ren)                           $1,000                                 $7,750
              You + Family                               $1,000                                 $7,750
              Spouse/Partner Only**                       $500                                  $3,850
              Spouse/Partner +                           $1,000                                 $7,750
              Child(ren)**
              Child Only**                                 $500                                 $3,850
              Children Only**                            $1,000                                 $7,750
              * Includes personal contributions, including voluntary catch-up contributions (see below); for active
                 employees it also includes Company contributions.
              ** These Coverage Categories apply only to a spouse, partner or child(ren) of a retiree or Eligible
                  Disabled Individual where covered family members (yourself and your Dependents) may be
                  enrolled in different medical options.
              Note: HSA contributions that are made by the Company are not guaranteed and may be amended
              or discontinued at any time at the sole discretion of the Company.
              Important: Since you own the HSA, the responsibility for maintaining the annual HSA contribution
              limit resides with you, the account owner. Please note that any contributions in excess of the annual
              contribution maximum are included in gross income and are subject to an additional excise tax.


              CATCH-UP CONTRIBUTIONS
              If you are age 55 or older, you can make an additional catch-up contribution of up to $1,000
              per year.
              MAKING AN ANNUAL CONTRIBUTION ELECTION
              If you are an employee, pretax payroll contributions to your HSA will not continue from one
              Plan Year to the next. If you are enrolled in the Premier HSA Medical Plan and do not make
              a new election during the Annual Enrollment Period for your contributions to your HSA,
              payroll contributions to your HSA for the following Plan Year will be zero. The Company
              contribution to your HSA will be made as long as you are considered an active employee,
              remain enrolled in the Premier HSA Medical Plan, and not enrolled in Medicare.

              The Company makes an Employer Contribution to your Bank of America Health Savings
              Account at the beginning of the Plan Year. Your Employee Contributions will accrue with
              each payroll deduction throughout the Plan Year. Depending on the balance you have
              accrued, not all of your Employee Contribution funds will be immediately available for use at
              the beginning of the Plan Year.

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              If you have an expense that is greater than your current balance, you can choose to pay out
              of pocket and reimburse yourself from your account once your balance has grown. For more
              information, log on to www.myhealth.bankofamerica.com.
              Tax Advantages
              You don’t pay Federal taxes (or state taxes, except in NJ and CA*) on the funds deposited,
              the interest earned, or the funds you spend from the account on qualified health care
              expenses.

              * HSA contributions made by the Company or by the employee via pre-tax deductions are not
                 eligible for tax-favored treatment for state tax purposes in NJ and CA.
              Investment Opportunities
              You can begin investing in an investment account once your HSA cash account balance
              reaches $1,000. You can invest any dollar amount in excess of the $1,000 minimum balance
              required to be held in the cash account of your HSA. If you have enrolled in investments and
              your cash account balance falls below $1,000, you will not be able to make any further
              investments until you replenish the cash account. Any deposits or pre-tax contributions will
              automatically be applied to your cash account until your balance is above $1,000; you may
              also liquidate some investments to replenish your cash account.

              Bank of America offers a number of investment fund options. To get information about these
              options and/or to enroll in investments, log on to www.myhealth.bankofamerica.com.
              Fees
              There are fees associated with maintaining an HSA. As long as you are enrolled in the
              Premier HSA Medical Plan as an active participant, the Company will pay any applicable
              monthly or maintenance fees. When you are no longer enrolled in the Premier HSA Medical
              Plan for any reason (e.g., termination of employment or you enroll in another Company-
              sponsored Medical Plan option), you will become responsible for applicable fees.

              Additionally, any fees other than the monthly or maintenance fees will always be your
              responsibility. For more information, check the fee schedule at
              www.myhealth.bankofamerica.com.
              Using Your HSA
              The cash account is the portion of your HSA that is used for your qualified medical expenses.
              When you choose to pay for qualified medical expenses from your HSA, you can do so using
              any of the following methods:

              HSA Debit Card: Bank of America will send you a debit card which can be used by any
              Health Care Provider that accepts Visa®. The debit card draws money directly from your
              HSA.

              HSA Online Bill Pay: Once enrolled, you can set up payees and make payments for qualified
              medical expenses from www.myhealth.bankofamerica.com.


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              Self-Reimbursement: Once your HSA is open, if you pay for a qualified medical expense out-
              of-pocket, you can reimburse yourself at any time using the functionality on
              www.myhealth.bankofamerica.com.
              Taxes and Penalties
              Taxes and penalties apply if HSA funds are used for non-qualified medical expenses or if you
              contribute more than the annual IRS maximum to your HSA, or are enrolled in Medicare Part
              A and/or Part B at the time a contribution is made to your HSA. It is your responsibility to
              manage your account and report HSA information (annual contributions, withdrawals, etc.) to
              the IRS on your annual Federal tax return. You are also responsible for completing any
              information relating to your HSA on your state income tax return.


                        NOTE TO ELIGIBLE DISABLED INDIVIDUALS AND RETIREES ABOUT AN HSA
          If you had been enrolled in the Premier HSA Medical Plan with an HSA through Bank of America
          prior to becoming an Eligible Disabled Individual or retiring, your HSA will continue but there will no
          longer be any employer contributions. You may make contributions directly to Bank of America via
          checks or online transfers. (However, if you are receiving severance pay, you may continue to
          contribute to your HSA via payroll contributions. If your severance benefits continuation period
          extends into another Plan Year, your contributions to your HSA will be based on the annual election
          you make during Annual Enrollment.)
          If you had not been enrolled in the Premier HSA Medical Plan with an HSA through Bank of America
          prior to becoming an Eligible Disabled Individual or retiring, but you enroll in the Premier HSA
          Medical Plan as an Eligible Disabled Individual or retiree, you may set up an HSA through Bank of
          America and make contributions directly to Bank of America via checks or online transfers. There
          will not be any employer contributions to your HSA. To process HSA enrollments, in accordance
          with Section 325 of the USA Patriot Act, Bank of America is required to obtain, verify and record
          information that identifies each person who opens an HSA (refer to the “customer identification
          process” described above). If this customer identification process fails or is incomplete, you must
          remain enrolled in the Premier HSA Medical Plan until the earlier of the next Annual Enrollment or a
          qualified status change, and you will not be able to contribute to the HSA.
          See the “2023 IRS Contribution Limits” column in the chart on Page 6 as well as the ”Catch-up
          Contributions” section that follows.




              Coinsurance For Eligible Services
              After you meet the Annual Deductible, the Premier HSA Medical Plan and you share the cost
              of eligible health care expenses including eligible prescription drugs. This cost sharing is
              called Coinsurance. For eligible In-Network services, the Premier HSA Medical Plan pays
              80% and you pay 20%. For eligible Out-of-Network services, the Premier HSA Medical Plan
              pays 60% and you pay 40%. Different Coinsurance levels apply for certain expenses. Refer
              to Page 24 for the Coinsurance levels that apply for Preventive Care Services. For the

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              Coinsurance percentages that apply for prescription drug expenses, refer to the Prescription
              Drug Coverage Details Supplement available on the FYB Website. Coinsurance percentages
              apply to the Pre-negotiated Fee for In-Network services or the applicable Recognized Charge
              for Out-of-Network services.
              In-Network Services
              Since In-Network care is charged at Pre-negotiated Fees that are usually lower than a
              Provider’s normal charges and is covered at a higher Coinsurance level than Out-of-Network
              care, you will pay less in Coinsurance for In-Network services.

              All Pre-negotiated Fees payable to a Participating Provider for medical services, including
              eligible prescription drug expenses (which include prescription drugs manufactured/marketed
              by the Johnson & Johnson Family of Companies) but excluding In-Network Preventive Care
              Services, are subject to the Annual Deductible, Coinsurance and the annual In-Network Out-
              of-Pocket Maximum.

              Participating Providers submit claims directly to the Service Administrator. You do not have
              to file claims for services you receive from a Participating Provider. After a Participating
              Provider submits the claim on your behalf to the Service Administrator, you will be billed by
              the Participating Provider for your share of the covered expense (Annual Deductible or
              Coinsurance). You may be asked to pay your share of the covered expense(s) (Annual
              Deductible and/or Coinsurance) at the time of the visit. You may use your HSA to pay for
              your share of any covered expense.

              To find a Participating Provider, call Member Services at the phone number on your ID card
              or log on to www.aetna.com.

              Refer to the Summary Of The Premier HSA Medical Plan chart on Page 22 for more
              information on benefit levels.
              Out-Of-Network Services
              Recognized Charges for Non-Participating Provider medical services, including eligible
              prescription drug expenses, are subject to the Annual Deductible, Coinsurance and the
              annual Out-of-Network Out-of-Pocket Maximum.

              If you use a Non-Participating Provider, you will usually pay more than you would have paid if
              you had received the services from a Participating Provider for the following reasons:
              ▪   For Non-Participating Providers, the Plan bases reimbursement on applicable Recognized
                  Charges [for more information, see the “Recognized Charges” section in the Salaried
                  Medical Plan Details (or for retirees, the Salaried Retiree Medical Plan SPD for Post-
                  4/1/85 Retirees/Dependents available on the FYB Website)]. The Recognized Charge for
                  a Non-Participating Provider will generally be higher than a Participating Provider’s Pre-
                  negotiated Fee for the same or similar service.
              ▪   The Plan generally pays a lower percentage of the Recognized Charge for Out-of-
                  Network services than the percentage it pays of the Pre-negotiated Fee for In-Network
                  services. As a result, your Coinsurance payments will typically be higher.

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              ▪   Your Annual Deductible will apply to almost all services, including Out-of-Network
                  Preventive Care Services.
              ▪   The Out-of-Pocket Maximum for Out-of-Network services is higher.
              ▪   Non-Participating Providers may charge you the full amount that they normally charge
                  above the Recognized Charge. Your payments above the Recognized Charge will not
                  apply to your Annual Deductible or Out-of-Pocket Maximum.
              Collectively, these differences may require you to pay significantly more than you would have
              needed to pay had you instead received the services from a Participating Provider.

              Important: You may need to pay your share of the covered expense (Annual Deductible or
              Coinsurance) at the time of your visit and file a claim form for services rendered by a Non-
              Participating Provider. Claim forms are available on the FYB Website.

              You may use your HSA to pay for your share of the covered expense.

              Out-Of-Pocket Maximum
              Your Out-of-Pocket Maximum is the most you will pay for covered medical services and
              supplies in a Plan Year. The Out-of-Pocket Maximum consists of your Annual Deductible
              and your Coinsurance for all eligible medical expenses, including prescription drugs, you pay
              within a Plan Year. Any combination of covered medical expenses from one or more family
              members can satisfy the Out-of-Pocket Maximum.

              There are separate In-Network and Out-of-Network Out-of-Pocket Maximums.

              Your Out-of-Pocket Maximums are determined by whether your Regular Annual Salary is
              less than or equal to $85,000, or greater than $85,000- as well as your Coverage Category.
              Your Out-of-Pocket Maximums will not change during a Plan Year due to a salary change
              (unless there is a corresponding employment status change from part-time to full-time or full-
              time to part-time)

              Once the Out-of-Pocket Maximums are met, eligible medical expenses, including prescription
              drugs, will be paid at 100% of Pre-negotiated Fees for In-Network services or 100% of
              applicable Recognized Charges for Out-of-Network services for the remainder of the Plan
              Year.

              The Out-of-Pocket Maximums do not include ineligible expenses, amounts that exceed
              Recognized Charges, expenses that exceed Plan limits and penalties for non-compliance
              with Inpatient Precertification requirements.




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                                  OUT-OF-POCKET MAXIMUMS FOR PREMIER HSA MEDICAL PLAN
                                    REGULAR ANNUAL SALARY* OF MORE            REGULAR ANNUAL SALARY* OF
                                    THAN $85,000                              $85,000 OR LESS
              COVERAGE
              CATEGORY              IN-NETWORK         OUT-OF-NETWORK         IN-NETWORK         OUT-OF-NETWORK
              You Only                  $3,500               $7,000               $2,500               $5,000
              You + Spouse/             $5,250               $10,500              $3,750               $7,500
              Partner
              You + Child(ren)          $5,250               $10,500              $3,750               $7,500
              You + Family              $7,000               $14,000              $5,000              $10,000
              Spouse/Partner            $3,500               $7,000               $2,500               $5,000
              Only**
              Spouse/Partner +          $5,250               $10,500              $3,750               $7,500
              Child(ren)**
              Child Only**              $3,500               $7,000               $2,500               $5,000
              Child(ren) Only**         $5,250               $10,500              $3,750               $7,500
              Eligible expenses for both In-Network and Out-of-Network care apply to both the In-Network and Out-of-
              Network Out-of-Pocket Maximums. For eligible expenses received Out-of-Network that are above the
              In-Network Out-of-Pocket Maximum, you must pay the difference (between the two maximums) until
              your Out-of-Network Out-of-Pocket Maximum is met.
              * See the definition in the “Glossary Of Terms” section in the Salaried Medical Plan Details (or for
                 retirees, the Salaried Retiree Medical Plan SPD for Post-4/1/85 Retirees/Dependents available on
                 the FYB Website).
              ** These Coverage Categories apply only to a spouse, partner or child(ren) of a retiree or Eligible
                  Disabled Individual where covered family members (yourself and your Dependents) may be enrolled
                  in different medical options.


              Retiree Reimbursement Arrangement (RRA)
              If you are eligible for a Retiree Reimbursement Arrangement (RRA), it will be held in a
              dormant account until you retire, attain Medicare eligibility and enroll in one of certain retiree
              medical plan options. For more information, see the “Retiree Reimbursement Arrangement
              (RRA)” section in the Salaried Medical Plan Details (or for retirees, the Salaried Retiree
              Medical Plan SPD for Post-4/1/85 Retirees/Dependents) available on the FYB Website.

              Health Care Flexible Spending Account
              If you are enrolled in the Premier HSA Medical Plan, you cannot enroll in Health Care
              Flexible Spending Account, or with certain limited exceptions, be covered under another
              health care Flexible Spending Account (e.g., through a spouse’s Flexible Spending Account)
              within the same year. If you do so, there may be Federal tax implications.
              Impact Of A Qualified Status Change On The Premier HSA Medical Plan
              If you or a Dependent experiences certain qualified status changes during the year, you may
              be able to make a change to your medical coverage [refer to the “Changing Coverage”
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              section in the General/Administrative Information Plan Details (or for retirees, the Salaried
              Medical Plan SPD for Post-4/1/85 Retirees/ Dependents) available on the FYB Website].
              Under the Premier HSA Medical Plan, making a change will have the following impact:


              EVENT                  IMPACT ON PREMIER HSA MEDICAL PLAN


              You make a             ▪ If you are enrolled in the Premier HSA Medical Plan, there will be no change
              coverage change          to your Deductible, RRA and Out-of-Pocket Maximums. Provided you are not
              (such as adding or       enrolled in Medicare, you can participate in an HSA.
              dropping a
              Dependent) and
              your Coverage
              Category remains
              the same
              You make a             ▪ If you are enrolled in the Premier HSA Medical Plan:
              coverage change          − Your Deductible and Out-of-Pocket Maximums will change if your new
              (such as adding or           Coverage Category changes from/to You Only to/from any other Coverage
              dropping a                   Category. Amounts previously met will be applied to your new family status
              Dependent) and               category.
              there is a change to     − There will not be any impact to your RRA.
              your Coverage
                                       − Provided you are not enrolled in Medicare, you can participate in an HSA.
              Category
              You become             ▪ Coverage for yourself and any covered Dependents stops.
              ineligible for         ▪ Your RRA is forfeited. It will not be reinstated if you again become eligible for
              coverage                 coverage and re-enroll in the Premier HSA Medical Plan in a subsequent Plan
                                       Year. Your RRA will be reinstated if you become eligible for coverage in the
                                       same Plan Year.
                                     ▪ Any individual(s) losing coverage because of a qualifying event under COBRA
                                       will be offered the opportunity to continue in the Premier HSA Medical Plan.
                                       The Deductible and Out-of-Pocket Maximums will be based on the applicable
                                       elected Family Status Category; the Out-of-Pocket Maximums will also be
                                       based on your Regular Annual Salary prior to the event.
                                     ▪ If you enroll for COBRA coverage, any amounts applied toward your
                                       Deductible and Out-of-Pocket Maximums for eligible expenses incurred prior
                                       to your becoming ineligible for coverage will be transferred to your COBRA
                                       coverage. If one or all of your Dependents, but not you, elect COBRA
                                       coverage, this transfer will not occur.
                                     ▪ You can keep your HSA with Bank of America and make contributions directly
                                       to them or move it to another financial entity that offers Health Savings
                                       Accounts. There are no employer contributions to your HSA while on COBRA.
              You are rehired in     ▪ You will be reinstated in the Premier HSA Medical Plan. Your Deductible and
              the same Plan Year       Out-of-Pocket Maximums will be reinstated. Claims for services incurred
                                       during your termination period are not covered (unless COBRA had been
                                       elected). Your RRA will be reinstated.
                                     ▪ If you had continued coverage under the Premier HSA Medical Plan during a
                                       severance benefits continuation period, or had elected COBRA during your

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                                      termination period, your coverage will be continuous and any amounts applied
                                      toward your Deductible and Out-of-Pocket Maximums for eligible expenses
                                      incurred during the termination period will be taken into account.
                                     ▪ No additional Company contribution will be made to your HSA during the year
                                       of rehire. Any prior employee payroll contributions to your HSA will be
                                       recalculated based on the remaining pay periods in the Plan Year, but you can
                                       enroll for, continue, change or suspend voluntary HSA payroll contributions.
                                     ▪ If you had maintained an HSA directly with Bank of America, upon rehire you
                                       may continue the direct HSA with Bank of America (in addition to continuing
                                       your HSA through the Premier HSA Medical Plan) or you can request Bank of
                                       America to combine your direct HSA under the HSA through the Premier HSA
                                       Medical Plan.



              You are rehired in a   ▪ If you elect the Premier HSA Medical Plan upon rehire, your Deductible, Out-
              different Plan Year      of-Pocket Maximums and Company contribution to your HSA will be based on
                                       your elected Family Status Category and Regular Annual Salary. Regardless
                                       of when during the year you elect this coverage, these amounts are the full
                                       amounts – they are not pro-rated. Your RRA will not be reinstated.
                                     ▪ If you had continued coverage under the Premier HSA Medical Plan during a
                                       severance benefits continuation period and/or had elected COBRA during
                                       your termination period, your coverage under the Premier HSA Medical Plan
                                       will continue upon your re-employment. Any amounts applied toward your
                                       Deductible and Out-of-Pocket Maximums in the Plan Year you are rehired will
                                       be taken into account. Your RRA will continue.
                                     ▪ For payroll deduction purposes, if you choose to contribute to your HSA, the
                                       amount of the annual election to your HSA will be divided by the remaining
                                       number of pay periods within the same Plan Year from the date of your HSA
                                       election, through December 31 of that same Plan Year.
                                     ▪ If you had maintained an HSA directly with Bank of America, upon rehire you
                                       may continue the direct HSA with Bank of America (in addition to continuing
                                       your HSA through the Premier HSA Medical Plan) or you can request Bank of
                                       America to combine your direct HSA under the HSA through the Premier HSA
                                       Medical Plan.
              You drop coverage      ▪ You can no longer make contributions to your HSA, but your prior HSA
              voluntarily              balance is available to you for qualified health care expenses.
                                     ▪ Your RRA is forfeited.
                                     ▪ COBRA will not be available.
              You elect coverage     ▪ Your Deductible, Out-of-Pocket Maximums and Contributions (if you are an
              under the Premier        employee) will be based on your elected Coverage Category; your Out-of-
              HSA Medical Plan         Pocket Maximums will also be based on your Regular Annual Salary.
              for the first time       Regardless of when during the year you elect this coverage, these amounts
                                       are the full amounts – they are not pro-rated.
                                     ▪ You can choose to open an HSA and contribute directly to the financial entity

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                                      holding the HSA. For payroll deduction purposes for employees, if you
                                      choose to contribute to your HSA, the amount of the annual election to your
                                      HSA will be divided by the remaining number of pay periods within the same
                                      Plan Year from the date of your HSA election through December 31 of that
                                      same Plan Year.
                                     ▪ If applicable, your RRA will be transferred to UnitedHealthcare.
                                     ▪ If you enroll in the Premier HSA Medical Plan mid-year for the first time as the
                                       result of a change in place of residence or a special enrollment event, your
                                       coverage in the Premier HSA Medical Plan begins on the date of the event.
                                       However, unless the date of the event is the first of a month, the HSA
                                       component of the Premier HSA Medical Plan will not become effective until
                                       the first of the following month. For example, if you have a special enrollment
                                       event on March 15 and enroll in the Premier HSA Medical Plan within 60 days,
                                       your coverage in the Premier HSA Medical Plan will be effective March 15 and
                                       your HSA effective date will be April 1. If you have a special enrollment event
                                       on March 1 and enroll in the Premier HSA Medical Plan within 60 days, the
                                       effective date for both your coverage in the Premier HSA Medical Plan and
                                       your HSA will be March 1.



              A Dependent loses      ▪ An employee can enroll for, continue, change or suspend voluntary HSA
              eligibility for          payroll contributions. An Eligible Disabled Individual or retiree can choose to
              coverage (e.g., an       open or continue an HSA and contribute directly to the financial entity holding
              ex-spouse due to a       the HSA.
              divorce, a child       ▪ When ineligibility results from a qualifying event under COBRA, the
              reaches the Plan’s       Dependent will be offered the opportunity to continue coverage in the Premier
              age limit, etc.)         HSA Medical Plan through COBRA, provided timely notification of the event,
                                       when required, (e.g., in a divorce) has been given.
                                     ▪ The Dependent will not have access to the employee’s/Eligible Disabled
                                       Individual’s/retiree’s RRA.
                                     ▪ Under the Premier HSA Medical Plan, the Deductible and Out-of-Pocket
                                       Maximums will be based on the Dependent’s elected Coverage Category; the
                                       Out-of-Pocket Maximums will also be based on the employee’s/Eligible
                                       Disabled Employee’s/retiree’s Regular Annual Salary. The Dependent will not
                                       have access to any amounts applied to the employees/Eligible Disabled
                                       Dependent’s/retiree’s Deductible or Out-of-Pocket Maximums from the period
                                       of coverage prior to their becoming ineligible, nor will they receive (or be able
                                       to make) any more HSA contributions. However, the Dependent can choose
                                       to open an HSA and contribute directly to the financial entity holding the HSA.
              You are an Eligible    If you and/or a Dependent had been enrolled in the Premier HSA Medical Plan
              Disabled Individual    at the time you and/or a covered Dependent become eligible for Medicare, the
              or a retiree and you   Medical Plan option that each individual (you as the Eligible Disabled
              and/or a covered       Individual/retiree and each covered Dependent) will be eligible for will depend
              Dependent become       on your primary home ZIP code and each individual’s Medicare status as
              Medicare-eligible      described in the “Medical Options For Eligible Disabled Individuals” section in
                                     the Salaried Medical Plan Details (or for retirees, the “Eligible Medical Options”
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              Important: When an        section in the Salaried Retiree Medical Plan SPD for Post-4/1/85
              individual becomes        Retirees/Dependents) available on the FYB Website.
              eligible for Medicare,    ▪ If you and/or a covered Dependent(s) remain in the Premier HSA Medical
              it is very important to     Plan:
              contact the Social
                                          − The Deductible and Out-of-Pocket Maximums will change if the new
              Security
                                              Coverage Category changes to “You Only,” “Spouse/Partner Only,” “Child
              Administration
                                              Only,” or “Children Only;” the Out-of-Pocket Maximums will also be based
              immediately to enroll
                                              on your Regular Annual Salary.
              for Medicare Parts A
              and B.                      − Claims for any individual who is eligible for Medicare will be processed on a
                                              secondary basis to Medicare even though the individual is not enrolled in
              Note: If you are age            both Part A and Part B.
              65 or older at the
              time of retirement or,     − There will not be any impact to your RRA.
              if you are in a            − Provided you are not enrolled in Medicare, you can participate in an HSA.
              deferred or
              suspended retiree         ▪ If you and/or a covered Dependent(s) are eligible for the Group Medicare
              medical status and          Advantage PPO Plan, each eligible individual will be enrolled on an individual
              are turning age 65,         basis. Enrollment must be approved by the Centers for Medicare & Medicaid
              you must enroll for         Services (CMS). (Until CMS approves enrollment, coverage will remain under
              retiree medical             the Premier HSA Medical Plan.)
              coverage within 60          − UnitedHealthcare must give the individual a 21-day period to opt out of this
              days of turning age             coverage.
              65 – otherwise, you         − Therefore, the effective date will always be prospective and will generally
              will be considered to           be the first day of the second month after the individual has become eligible
              have permanently                for Medicare.
              waived retiree
              medical coverage.          − Any claims for eligible services incurred prior to enrollment into the Group
                                            Medicare Advantage PPO Plan and received by the Premier HSA Medical
                                            Plan by the claim-filing deadline will be processed.
                                        ▪ After you have enrolled in the Group Medicare Advantage PPO Plan, your
                                          RRA will become available to you for qualified health care expenses.
                                        Note: For more information about the Group Medicare Advantage PPO Plan,
                                        see the Medicare Advantage EOC available on the FYB Website.

              Family Members Employed By Or Retired From The
              Johnson & Johnson Family Of Companies
              If your eligible spouse/partner is a retiree of the Johnson & Johnson Family of Companies (or
              you marry an employee/Eligible Disabled Individual/retiree of the Johnson & Johnson Family
              of Companies) or your eligible child is an employee/Eligible Disabled Individual of the
              Johnson & Johnson Family of Companies, under the Premier HSA Medical Plan, making a
              change to your medical coverage will have the following impact:

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               You make a               ▪ There will be no change to your Deductible, Company contribution to your
               coverage change            HSA (if you are an employee) and Out-of-Pocket Maximums. Amounts
               (such as adding or         previously met will be applied to your new family status category.

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              dropping a           ▪ An employee can enroll for, continue, change or suspend voluntary HSA
              Dependent) and         payroll contributions. An Eligible Disabled Individual or retiree can choose to
              your Family Status     continue or open an HSA and contribute directly to the financial entity holding
              Category remains       the HSA.
              the same
                                   ▪ If your spouse’s/partner’s Coverage Category does not change, your
                                     spouse’s/partner’s Deductible, Company contribution to their HSA (if they are
                                     an employee) and Out-of-Pocket Maximums will not change.
                                   ▪ There will not be any impact to your RRA.
              You make a           ▪ Your Deductible and Out-of-Pocket Maximums will change based on your
              coverage change        new Coverage Category.
              (such as adding or     − If your Coverage Category changes from You Only to any other Coverage
              dropping a               Category, your Deductible will change to $3,000 and if you are an
              Dependent) and           employee there will be an incremental Company contribution of $500
              there is a change to     added to your HSA.
              your Family Status
              Category               − If your Coverage Category changes to You Only, your Deductible will
                                       change to $1,500 and if you are an employee the Company contribution to
                                       your HSA already made for the current Plan Year will not be recouped.
                                   ▪ An employee can enroll for, continue, change or suspend voluntary HSA
                                     payroll contributions. An Eligible Disabled Individual or retiree can choose to
                                     open an HSA and contribute directly to the financial entity holding the HSA.
                                   ▪ Similar rules would apply if there are changes to your spouse’s/partner’s
                                     Coverage Category.
                                   ▪ There will not be any impact to your RRA.
              One of you adds      ▪ If your or your spouse’s/partner’s Coverage Category changes from You Only
              the other              to any other Coverage Category, the Deductible and Out-of-Pocket
              spouse/partner who     Maximums of the employee/Eligible Disabled Individual/retiree who adds the
              had their own          other spouse/partner will change based on their new Coverage Category and
              coverage under the     for an employee there will be an incremental Company contribution of $500
              Premier HSA            added to their HSA.
              Medical Plan;        ▪ An employee who is adding their spouse/partner can enroll for, continue,
              accordingly, the       change or suspend voluntary HSA payroll contributions. An Eligible Disabled
              other                  Individual/retiree who is adding their spouse/partner can open or continue an
              spouse/partner         HSA and contribute directly to the financial entity holding the HSA.
              drops coverage
                                   ▪ Voluntary HSA payroll contributions will cease for the employee who drops
                                     coverage to become covered as a Dependent, but employee who drops
                                     coverage can keep their HSA with Bank of America and make contributions
                                     directly to Bank of America.
                                   ▪ The RRA will be forfeited for the employee/Eligible Disabled Individual/retiree
                                     who drops coverage to become covered as a Dependent.



              You add your child   ▪ If your Coverage Category does not change due to adding your child, there
              who had their own      will be no change to your Deductible, Company contribution to your HSA (if
              coverage under the     you are an employee) and Out-of-Pocket Maximums.

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              Premier HSA           ▪ If your Coverage Category changes, your Out-of-Pocket Maximums will
              Medical Plan, and       change based on your new Coverage Category; they will also be based on
              your child drops        your Regular Annual Salary.
              coverage as an
                                    ▪ If your Coverage Category changes from You Only to any other Coverage
              employee
                                      Category, your Deductible will change to $3,000 and if you are an employee
                                      there will be an incremental Company contribution of $500 added to your
                                      HSA.
                                    ▪ When your child drops coverage to become covered as your Dependent,
                                      they will forfeit their RRA.
                                    ▪ An employee can enroll for, continue, change or suspend voluntary HSA
                                      payroll contributions. An Eligible Disabled Individual or retiree can choose to
                                      continue or open an HSA and contribute directly to the financial entity holding
                                      the HSA.
                                    ▪ Your child’s voluntary HSA payroll contributions will cease when your child
                                      drops coverage to become covered as your Dependent, but your child can
                                      keep their HSA with Bank of America and make contributions directly to Bank
                                      of America.
              You drop your child   ▪ If your Coverage Category does not change due to dropping your child, there
              from your               will be no change to your Deductible, Company contribution to your HSA (if
              coverage, and your      you are an active employee) and Out-of-Pocket Maximums.
              child enrolls under   ▪ If your Coverage Category changes, your Out-of-Pocket Maximums will
              the Premier HSA         change based on your new Coverage Category.
              Medical Plan as an
                                    ▪ If your Coverage Category changes to You Only, your Deductible will change
              employee
                                      to $1,500 and if you are an employee the Company contribution to your HSA
                                      already made for the current Plan Year will not be recouped.
                                    ▪ An employee can enroll for, continue, change or suspend voluntary HSA
                                      payroll contributions. An Eligible Disabled Individual or retiree can choose to
                                      continue or open an HSA and contribute directly to the financial entity holding
                                      the HSA.
                                    ▪ There will not be any impact to your RRA.
                                    ▪ If your child elects coverage under the Premier HSA Medical Plan, their
                                      Deductible, Out-of-Pocket Maximums and Company contribution to their HSA
                                      will be based on their elected Coverage Category; the Out-of-Pocket
                                      Maximums will also be based on their Regular Annual Salary. Regardless of
                                      when during the year they elect this coverage, these amounts are the full
                                      amounts – they are not pro-rated (unless your child had their own coverage
                                      under the Premier HSA Medical Plan earlier in the same Plan Year, in which
                                      case, any amounts applied toward their Deductible and Out-of-Pocket
                                      Maximums will be reinstated).
                                    ▪ For payroll deduction purposes, if your child chooses to contribute to their
                                      HSA, the amount of the annual election to their HSA will be divided by the
                                      remaining number of pay periods within the same Plan Year from the date of
                                      their HSA election, through December 31 of that same Plan Year.
              One of you drops      ▪ For the employee/Eligible Disabled Individual/retiree who drops the other
              the other               spouse/partner, their Out-of-Pocket Maximums will change based on the new

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              PREMIER HSA MEDICAL PLAN                                                           PLAN FEATURES


               EVENT                   IMPACT ON PREMIER HSA MEDICAL PLAN*
               spouse/partner as        Coverage Category. For an employee, the Company contribution already
               a result of a divorce    made to their HSA for the current Plan Year will not be recouped.
               or dissolution of a     ▪ If the employee’s/Eligible Disabled Individual’s/retiree’s Coverage Category
               partnership               changes to You Only, their Deductible will change to $1,500.
                                       ▪ The employee who drops the other spouse/partner can enroll for, continue,
                                         change or suspend voluntary HSA payroll contributions. An Eligible Disabled
                                         Individual or retiree can choose to continue or open an HSA and contribute
                                         directly to the financial entity holding the HSA.
                                       ▪ There will not be any impact the RRA of the employee/Eligible Disabled
                                         Individual/retiree who drops the other spouse/partner.
                                       ▪ The spouse/partner whose coverage has been dropped can elect coverage
                                         under the Premier HSA Medical Plan and their Deductible, Out-of-Pocket
                                         Maximums and Company Contribution to their HSA (if an employee) will be
                                         based on their elected Coverage Category; the Out-of-Pocket Maximums will
                                         also be based on their Regular Annual Salary. Regardless of when during
                                         the year they elect this coverage, these amounts are the full amounts – they
                                         are not pro-rated (unless the spouse/partner whose coverage has been
                                         dropped had their own coverage under the Premier HSA Medical Plan earlier
                                         in the same Plan Year, in which case, any amounts applied toward their
                                         Deductible and Out-of-Pocket Maximums will be reinstated). If an employee,
                                         they can enroll for voluntary HSA payroll contributions; if an Eligible Disabled
                                         Individual/retiree, they can open an HSA and contribute directly to the
                                         financial entity holding the HSA.
              * If you are enrolled in the Premier HSA Medical Plan, you may make a change to your annual HSA
                  election at any time. All changes are prospective and the payroll deduction will be adjusted with
                  the next practical payroll cycle.

              Any individual(s) losing coverage as a result of a COBRA qualifying event may be offered an
              opportunity to continue their group medical coverage through COBRA. For more information,
              see the “COBRA Coverage” section in the Salaried Medical Plan Details (or for retirees, the
              Salaried Retiree Medical Plan SPD for Post-4/1/85 Retirees/Dependents) available on the
              FYB Website.




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              PREMIER HSA MEDICAL PLAN                                                 BENEFITS SUMMARY


              SUMMARY OF THE PREMIER HSA MEDICAL PLAN
              The following chart provides an overview of some of the different types of medical expenses
              and how they are paid under the Premier HSA Medical Plan when you receive Medically
              Necessary In-Network or Out-of-Network care. All reimbursements are based on
              Prenegotiated Fees (for Participating Providers) or applicable Recognized Charges (for Non-
              Participating Providers) as determined by the Service Administrator. For Medicare-eligible
              individuals (Eligible Disabled Individuals or retirees and their covered Dependents),
              reimbursements are based on the Medicare allowable charge or limiting charge. For more
              information on eligible services and supplies covered under the Premier HSA Medical Plan,
              refer to the “Eligible Expenses” section in the Salaried Medical Plan Details (or for retirees,
              the Retiree Medical Plan SPD for Post-4/1/85 Retirees/Dependents) available on the FYB
              Website.
                                               PREMIER HSA MEDICAL PLAN
               COVERED SERVICE                              IN-NETWORK BENEFITS         OUT-OF-NETWORK
                                                                                         BENEFITS
               Acupuncture                                  80% after Deductible        60% after Deductible
               Allergy Injections                           80% after Deductible        60% after Deductible
               Ambulance                                    80% after Deductible if Service Administrator
                                                            determines a medical emergency exists
                                                            Non-emergency, Medically Necessary services
                                                            may be covered in accordance with the Service
                                                            Administrator’s guidelines, generally at 80% after
                                                            Deductible for In-Network Providers and 60% after
                                                            Deductible for Out-of-Network Providers.
                                                            In general, other than Medically Necessary
                                                            ambulance expenses, transportation services are
                                                            not covered. This exclusion does not apply to
                                                            expenses for qualified cancer clinical trials (see
                                                            page 19) and eligible transplants when using a
                                                            facility more than 100 miles away from your home,
                                                            as well as medically non-necessary transport.
                                                                 •   Available when member is confined 100
                                                                     miles or more from their principal residence
                                                                     and below administrative criteria are met:
                                                                         o Transport back to the area of the
                                                                            member’s principal residence only
                                                                         o Coverage limited to the patient only,
                                                                            companion services not included
                                                                         o Anticipated length of stay should be
                                                                            greater than 30 days
                                                                         o Transport within the United States
                                                                            only, no international coverage
                                                                         o Participating providers must be
                                                                            used if available

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              PREMIER HSA MEDICAL PLAN                                              BENEFITS SUMMARY

                                                                     o  There must be agreement between
                                                                        the sending and receiving facilities,
                                                                        as well as the transport provider,
                                                                        that the member is stable enough to
                                                                        travel
                                                                     o Lowest level of clinically appropriate
                                                                        transport should be utilized, whether
                                                                        it be ground or air
                                                                     O Transport of mortal remains not
                                                                        covered
              Ambulatory Surgical Care Facility            80% after Deductible      60% after Deductible
              Anesthesia                                   80% after Deductible      60% after Deductible
              Applied Behavior Analysis Therapy            80% after Deductible      60% after Deductible
              Artificial Insemination                      80% after Deductible      60% after Deductible




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              PREMIER HSA MEDICAL PLAN                                                   BENEFITS SUMMARY


                                                PREMIER HSA MEDICAL PLAN
              COVERED SERVICE                                   IN-NETWORK BENEFITS        OUT-OF-NETWORK
                                                                                           BENEFITS
              Behavioral Health/Substance Abuse Inpatient       80% after Deductible       60% after Deductible
              Care and Behavioral Health/ Substance
              Abuse Structured Outpatient Treatment
              Programs (in lieu of Inpatient Care). Inpatient
              Care must be pre-certified. Failure to pre-
              certify results in a $300 penalty. See also the
              “General Exclusions And Limitations” section
              in the Salaried Medical Plan Details (or for
              retirees, the Salaried Retiree Medical Plan
              SPD for Post-4/1/85 Retirees/Dependents)
              available on the FYB Website.
              Behavioral Health/Substance Abuse                 80% after Deductible       60% after Deductible
              Individual Outpatient Care
              Blood and Blood Plasma/Autologous (self-          80% after Deductible       60% after Deductible
              donated) Blood
              Cancer Clinical Trials                            100% after Deductible, for routine patient services
                                                                not covered by the Cancer Clinical Trial (regardless
                                                                of whether a Participating or Non-Participating
                                                                Provider)
                                                                Note: Patient costs associated with other
                                                                approved (as determined by the Service
                                                                Administrator) non-cancer clinical trials are covered
                                                                as follows: In-Network – 80% after Deductible; Out-
                                                                of-Network – 60% after Deductible
              Chemotherapy/Radiation                            80% after Deductible       60% after Deductible
              Chiropractic Care (limit of up to 30 non-         80% after Deductible       60% after Deductible
              maintenance visits combined In-Network and
              Out-of-Network)
              Contraceptive Devices and Injectables             100%, no Deductible        60% after Deductible
              administered in a Doctor’s office
              Dental Services – Accidental Injury Only          80% after Deductible       60% after Deductible
              Diabetes Education                                80% after Deductible       60% after Deductible
              Drugs and Medication                              See the Prescription Drug Coverage Details
                                                                Supplement available on the FYB Website




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              PREMIER HSA MEDICAL PLAN                                                    BENEFITS SUMMARY


                                                   PREMIER HSA MEDICAL PLAN
                                                               IN-NETWORK BENEFITS        OUT-OF-NETWORK
               COVERED SERVICE                                                            BENEFITS
              Durable Medical Equipment (DME) (except          80% after Deductible       60% after Deductible
              certain products manufactured/marketed by
              the Johnson & Johnson Family of
              Companies, which are paid at 100% after
              Deductible)
              Emergency Room Care*                             80% after Deductible if Service Administrator
                                                               determines a medical emergency exists
                                                               60% after Deductible if Service Administrator
                                                               determines a medical emergency does not exist
              Fertility Assistance for Participants,           80% after Deductible       60% after Deductible
              excluding children [In-Vitro Fertilization
              (IVF), Gamete Intra Fallopian Transfer
              (GIFT), Intracytoplasmic Sperm Injection
              (ICSI) and Zygote Intra Fallopian Transfer
              (ZIFT)]
              $35,000 lifetime maximum (includes
              prescription drugs related to Fertility
              Assistance)
              For more information, see the Salaried
              Medical Plan Details (or for retirees, the
              Salaried Retiree Medical Plan SPD for
              Post-4/1/85 Retirees/ Dependents) and the
              Prescription Drug Coverage Details
              Supplement available on the FYB Website
              Genetic Counseling                               80% after Deductible       60% after Deductible
              Genetic Testing                                  80% after Deductible       60% after Deductible
              Hearing Aids                                     80% after Deductible       60% after Deductible
              $3000 maximum per ear, per hearing aid,
              every three years
              Hemodialysis                                     80% after Deductible       60% after Deductible
              Home Health Care Visits (part-time or            80% after Deductible       60% after Deductible
              intermittent)
              Hospice Care                                     80% after Deductible       60% after Deductible
              Hospital Ancillary Services (inpatient)          80% after Deductible       60% after Deductible
                                                               80% after Deductible       60% after Deductible
              Hospital Room and Board (semi-private)
              and Skilled Nursing Facility. Inpatient Care
              must be pre-certified. Failure to pre-certify
              results in a $300 penalty. See also the
              “General Exclusions And Limitations”

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              PREMIER HSA MEDICAL PLAN                                                    BENEFITS SUMMARY

              section in the Salaried Medical Plan Details
              (or for retirees, the Salaried Retiree Medical
              Plan SPD for Post-4/1/85
              Retirees/Dependents) available on the FYB
              Website.
              Hospital Services—Outpatient                     80% after Deductible       60% after Deductible
              Laboratory, X-ray and Imaging—Outpatient         80% after Deductible       60% after Deductible
              Maternity Care (non-preventive)                  80% after Deductible       60% after Deductible
                                                               Note: In-Network
                                                               preventive prenatal care
                                                               is covered at 100%, no
                                                               Deductible
              Nutritional Counseling                           80% after Deductible       60% after Deductible
              Occupational Therapy                             80% after Deductible       60% after Deductible
              Orthotics                                        80% after Deductible       60% after Deductible
              Oxygen                                           80% after Deductible       60% after Deductible
              Physical Therapy                                 80% after Deductible       60% after Deductible
              Physician Services—Inpatient                     80% after Deductible       60% after Deductible
              (consultations and surgery)
              Physician Services—Outpatient (visits and        80% after Deductible       60% after Deductible
              surgery)
              Podiatric Services                               80% after Deductible       60% after Deductible
              Pre-Admission Testing                            80% after Deductible       60% after Deductible




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              PREMIER HSA MEDICAL PLAN                                                        BENEFITS SUMMARY



                                                    PREMIER HSA MEDICAL PLAN
               COVERED SERVICE                                   IN-NETWORK BENEFITS           OUT-OF-NETWORK
                                                                                               BENEFITS
               Prescription Drug Benefits                        See the Prescription Drug Coverage Details
                                                                 Supplement available on the FYB Website
               Preventive Care Service                           100%, no Deductible           60% after Deductible
               [see the Preventive Care Services charts in
               the Salaried Medical Plan Details (or for
               retirees, the Salaried Retiree Medical Plan
               SPD for Post-4/1/85 Retirees/Dependents)
               available on the FYB Website]
               Note that if it is an eligible Plan expense, a test performed due to a specific diagnosis is covered at
               any time under the Plan, subject to the Deductible at 80% if In-Network or 60% if Out-of-Network.
               Private Duty Nursing                              80% after Deductible          60% after Deductible
               Prosthetics                                       80% after Deductible          60% after Deductible
               Second and Third Physician Opinions               80% after Deductible          60% after Deductible
               Speech Therapy                                    80% after Deductible          60% after Deductible
               Surgery                                           80% after Deductible          60% after Deductible
               Travel and Lodging                                Travel and lodging for complex and rare complicated
                                                                 conditions per service administrator guidelines
               Urgent Care Facility                              80% after Deductible          60% after Deductible



              * For Emergency Care, the benefit determination is based on the following: the Prenegotiated Fee when care is
              provided by a Participating Provider; the amount billed when the Service Administrator determines a medical
              emergency exists and care is provided by a Non-Participating Provider; and the applicable Recognized Charge
              when the Service Administrator determines a medical emergency does not exist and care is provided by a Non-
              Participating Provider. For more information, see the “Emergency Care” section in the Salaried Medical Plan
              Details (or for retirees, the Salaried Retiree Medical Plan SPD for Post-4/1/85 Retirees/ Dependents) available
              on the FYB Website.




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